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 1    CERA LLP
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 7    Counsel for Plaintiff Negron and the Proposed Class
      [Additional Counsel listed on
 8    signature page]

 9                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11
12                                                          )
      KIMBERLY NEGRON, Individually and On                      Case No. 4:21-cv-00801-HSG
                                                            )
      Behalf of All Others Similarly Situated,
13                                                          )
                                                                PLAINTIFF’S NOTICE OF MOTION
                                                            )
14                                  Plaintiff,                  AND MOTION TO APPOINT
                                                            )
                                                                INTERIM COUNSEL PURSUANT
15                                                          )
                               v.                               TO FED. R. CIV. P. 23(g)
                                                            )
16                                                          )
      GOOGLE LLC,                                               Judge:   Hon. Haywood S. Gilliam, Jr.
                                                            )
17                                                              Date:    July 1, 2021
                                    Defendant.              )   Time:    2:00 p.m.
18                                                          )
                                                                Ctrm:    2 – 4th Floor
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 1                                NOTICE OF MOTION AND MOTION

 2   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE THAT on July 1, 2021 at 2:00 p.m. or as soon thereafter as

 4   counsel may be heard, before the Honorable Haywood S. Gilliam, Jr., Courtroom 2 of the United

 5   States District Court for the Northern District of California, Ronald V. Dellums Federal Building &

 6   United States Courthouse, 1301 Clay Street, Oakland, California 94612, Plaintiff Kimberly Negron,

 7   individually and on behalf of all others similarly situated, will and hereby does move for an order

 8   under Fed. R. Civ. P. 23(g) appointing Interim Counsel, comprised of an Executive Committee

 9   including Fred T. Isquith, Jr. as Chair of the Plaintiffs’ Executive Committee and two additional

10   members, Pamela A. Markert and Kate M. Baxter-Kauf. Defendant Google LLC does not oppose this

11   motion.

12          This motion is based upon this Notice of Motion and Motion, the supporting Memorandum

13   set forth below, the exhibits attached hereto, the pleadings and records on file in this action, and all

14   other matters properly before the Court.

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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2          Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, Plaintiff Kimberly Negron

 3   (“Negron”), individually and on behalf of all others similarly situated, moves this Court to appoint

 4   her counsel, Fred T. Isquith, Jr., as Chair of the Plaintiffs’ Executive Committee, along with two

 5   additional Executive Committee members, Pamela A. Markert and Kate M. Baxter-Kauf, as interim

 6   class counsel to act on behalf of Plaintiffs and the proposed class. See Fed. R. Civ. P. 23(g)(3).

 7   Appointment of interim class counsel is appropriate in this case. The proposed interim class counsel

 8   are experienced in complex litigation, committed to efficiently prosecute this case, and will best serve

 9   the advertiser class’s interests in a just and speedy manner. Plaintiff respectfully requests that the

10   motion be granted.

11   I.     LEGAL STANDARD

12          Under Federal Rule of Civil Procedure 23(g)(3), a court “may designate interim counsel to

13   act on behalf of a putative class before determining whether to certify the action as a class action.”

14   Fed. R. Civ. P. 23(g)(3). A court should “designate interim counsel during the pre-certification period

15   if necessary to protect the interests of the putative class.” See Wang v. OCZ Tech. Grp., Inc., No. C

16   11-01415 PSG, at *4 (N.D. Cal. June 29, 2011) (citing Fed. R. Civ. P. 23). In considering the

17   appointment of interim class counsel, courts typically look to the factors used in determining the

18   adequacy of class counsel under Rule 23(g)(1)(A). See, e.g., In re Seagate Tech. LLC Litig., No. 16-

19   CV-00523-RMW, 2016 WL 3401989, at *2 (N.D. Cal. June 21, 2016). These factors are:

20          1)      the work counsel has done in identifying or investigating potential claims in the
                    action;
21
            2)      counsel’s experience in handling class actions, other complex litigation, and the
22                  types of claims asserted in the action;
23          3)      counsel’s knowledge of the applicable law; and
            4)      the resources that counsel will commit to representing the class.
24
25   Fed. R. Civ. P. 23(g)(1)(A). The court may also consider “any other matter pertinent to counsel’s

26   ability to fairly and adequately represent the interests of the class.” See Fed. R. Civ. P. 23(g)(1)(B).

27   When faced with competing applications for interim class counsel, the court “must appoint the

28   applicant best able to represent the interests of the class.” See Fed. R. Civ. P. 23(g)(2).

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 1   II.    ARGUMENT
 2          The factors outlined in Rule 23(g) and the relevant case law support Plaintiff’s motion to
 3   appoint interim counsel.
 4          A.      Interim Class Counsel Should be Appointed in this Case

 5          It is well-established that a court may appoint leadership to direct and manage complex cases.

 6   See Vincent v. Hughes Air West, Inc., 557 F.2d 759, 774-75 (9th Cir. 1977). In determining whether

 7   designation of interim counsel during the pre-certification period is necessary to protect the interests

 8   of the putative class, see Wang, No. C 11-01415 PSG, at *4, the Court first generally determines

 9   whether there are “special circumstances that warrant appointment of interim counsel at this stage.”

10   In re S.C. Johnson & Son, Inc. Windex Non-Toxic Litig., No. 20-CV-03184-HSG, 2020 WL 6081722,

11   at *2 (N.D. Cal. Oct. 15, 2020) (internal quotation omitted). Given the complex nature of this

12   litigation, the need for protection of the interests of the unique class alleged, and the need for

13   communication (if not coordination), with the other cases pending in this District, see infra, there are

14   sufficient special circumstances that warrant the appointment of interim class counsel.

15          The proposed interim class counsel filed the complaint in this action on February 1, 2021. The

16   complaint alleges claims arising from an alleged unlawful agreement entered into between defendant

17   Google LLC (“Google”) and Facebook, Inc. (“Facebook”) in September 2018. On February 9, 2021,

18   Plaintiff moved to relate this action (“Negron”) to In re Google Digital Advertising Antitrust Litig.,

19   No 5:20-cv-03556-BLF (N.D. Cal.), which has been pending in this District since May 2020. That

20   motion was denied on March 2, 2021. See Google Digital Ads Antitrust Litig., No 5:20-cv-03556-

21   BLF, ECF No. 108 (N.D. Cal. Mar. 2, 2021).

22          While the Negron action is different from the multiple antitrust lawsuits against Google

23   pending before Judge Freeman, counsel anticipate that the parties in the various cases will attempt to

24   coordinate discovery. The proposed interim class counsel has developed relationships with the

25   attorneys in the multiple cases before Judge Freeman that span years. Mr. Isquith, Ms. Markert, and

26   Ms. Baxter-Kauf all have significant experience working with other plaintiff firms on related actions

27   and are confident they be able to avoid unnecessary time and expense as these cases advance by

28   sharing document databases and related costs, coordinating depositions and other discovery matters.

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 1   See Olosoni v. HRB Tax Grp., Inc., No. 19-CV-03610-SK, 2019 WL 7576680, at *5 (N.D. Cal. Nov.

 2   5, 2019), aff'd sub nom. Snarr v. HRB Tax Grp., Inc., No. 19-17441, 2020 WL 7249334 (9th Cir.

 3   Dec. 9, 2020) (granting request for appointment of interim counsel because “two similar

 4   precertification putative class actions are pending” and Rule 23(g) requirements were satisfied);

 5   Gallagher v. Bayer AG, No. 14-CV-04601-WHO, 2015 WL 4932292, at *8 (N.D. Cal. Aug. 18, 2015)

 6   (granting motion to appoint counsel even in absence of other class suits when Rule 23(g)(1) factors

 7   are met and defendants will not be prejudiced).

 8           For these reasons, the proposed executive committee comprised of Chair Fred T. Isquith, Jr.,

 9   and members Pamela A. Markert and Kate M. Baxter-Kauf, are best suited to represent the interests

10   of the class alleged in Negron and should be appointed interim class counsel.

11           B.     The Work Done in Identifying or Investigating
12                  Potential Claims Justifies Appointment of Counsel

13           Rule 23(g) requires that in deciding a motion for appointment of Interim Counsel, the court
14   should consider the work undertaken by that counsel in the case to date. See Chacanaca v. Quaker
15   Oats Co., No. C 10-0502 RS, 2011 WL 13141425, at *3 (N.D. Cal. June 14, 2011) (noting
16   appropriateness of appointing counsel responsible for original investigation of case and claims); In
17   re Apple & AT&TM Antitrust Litig., No. 07-05152 JW, 2008 U.S. Dist. LEXIS 120061, at *9-10
18   (N.D. Cal. Apr. 15, 2008). As evidenced by counsel’s filing of the motion to relate and previous work
19   developing the complaint, Mr. Isquith, Jr., along with Ms. Markert and Ms. Baxter-Kauf, have already
20   done extensive work to investigate, identify, and advocate for the claims of the class. Indeed, as Judge
21   Freeman noted during a hearing on February 4, 2021, Negron is unique in its claims. Prior to filing
22   the complaint, Ms. Negron’s counsel researched facts and law to allege claims specific to the
23   allegedly unlawful agreement entered into between defendant Google and Facebook in September
24   2018.
25           Mr. Isquith, Jr., is properly suited to lead this class of advertisers asserting Section 1 Sherman
26   Act claims against Google, having researched these specific claims and advocated on behalf of this
27   specific class, and has worked with Ms. Markert and Ms. Baxter-Kauf to investigate, prosecute and
28   pursue this case. Proposed interim counsel and their firms have expended considerable effort in the

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 1   early stages of this litigation through numerous calls and emails among plaintiff’s counsel,

 2   conferences with defense counsel, and hearing attendance. Their firms and they have worked with

 3   each other in the past. Their work supports appointment pursuant to Fed. R. Civ. P. 23(g)(1)(A)(i).

 4          C.      Proposed Interim Counsel Have Extensive Experience
                    Handling Class Actions, Complex Litigation, and the
 5                  Types of Claims at Issue, and Know the Applicable Law
 6          Courts applying Rule 23(g) have placed emphasis on proposed class counsel’s experience and
 7   knowledge of the applicable law. In addition to their combined experience in prosecuting class
 8   actions, as set forth below, and significant efforts expended in developing this case, Mr. Isquith, Jr.,
 9   along with Ms. Markert and Ms. Baxter-Kauf, have extensive experience in prosecuting the types of
10   claims at issue and knowledge of the applicable law and the Sherman Act.
11                  1.      Fred T. Isquith, Jr., Of Counsel at Zwerling, Schacter &
12                          Zwerling LLP as Chair of the Plaintiffs’ Executive Committee

13          As set forth in the Zwerling, Schachter & Zwerling LLP resume, attached as Exhibit 1, Mr.
14   Isquith, Jr., is of counsel at Zwerling, Schachter, & Zwerling, and is also the managing attorney of
15   Isquith Law PLLC in New York, where he engages in complex litigation and specializes in providing
16   counsel regarding expert matters. Mr. Isquith has almost 11 years of complex litigation experience.
17   He has extensive experience in prosecuting matters regarding market manipulation, violations of the
18   Sherman Act, violations of the Clayton Act, and various state consumer protection statutes. This
19   experience, which he has obtained in his current firm affiliation and prior firms, has included
20   leadership of numerous cases. Zwerling Schachter Zwerling LLP, whose lawyers have acted or is
21   presently acting as a lead counsel or member of an executive committee in numerous class actions
22   involving antitrust claims and deceptive trade practices. Mr. Isquith has routinely represented
23   plaintiffs in antitrust matters like the one alleged by Ms. Negron, including ones in which he has
24   played an integral part and managed attorneys in each of those matters. Such cases include In re Juul
25   Labs, Inc. Antitrust Litig, 20-cv-2345(N.D. Cal); First Impression v. National Milk Producers, 13-
26   cv-454 (S.D. Ill); and In re Crude Oil Commodity Futures Litig., 11-cv-3600 (S.D.N.Y.). Mr. Isquith
27   will have the support of and ability to work with some of the highest regarded attorneys in the field.
28

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                     2.      Pamela M. Markert of Cera LLP as Plaintiffs’
 1                           Executive Committee Member and local liaison counsel
 2           As set forth in the Cera LLP resume, attached as Exhibit 2, Ms. Markert is a partner at the
 3   firm, where she litigates complex, multi-party cases in federal courts throughout the United States,
 4   including extensive practice in the Northern District of California. For more than 30 years, Cera LLP,
 5   formerly known as Gold Bennett Cera & Sidener LLP, has played a leading role in significant antitrust
 6   cases and has recovered more than $2 billion for its clients in complex class action litigation.
 7           Ms. Markert has practiced law for more than 21 years representing both plaintiffs and
 8   defendants in commercial litigation. For the past 15 years, Ms. Markert’s practice has focused
 9   exclusively on representing plaintiffs in complex class action litigation in the areas of securities fraud,
10   antitrust and consumer class actions, with the majority of her caseload during the past decade focused
11   on antitrust class actions. Ms. Markert takes an active role her cases from drafting the complaint
12   through settlement approval. In 2020, she was appointed one of four Steering Committee Members
13   involving three different plaintiff classes by the Honorable William H. Orrick, III, in In re Juul Labs,
14   Inc., Antitrust Litigation, Case No. 3:20-cv-02345-WHO, ECF No. 115 (N.D. Cal. August 24, 2020).
15   Representative antitrust cases include: In re Shock Absorbers Antitrust Litigation, 16-cv-13616-SFC-
16   RSW (E.D. Mich.); Merced Irrigation District v. Barclays Bank PLC, Case No. 15-cv-04878-VM-
17   GWG (S.D.N.Y.); Grand Strand Water & Sewer Authority v. Oltrin Solutions LLC et al., Case No.
18   14-cv-2800-RMG (D.S.C. ); In re Bearings Antitrust Litigation, Case No. 12-cv-00501(E.D. Mich.);
19   and In re Municipal Derivatives Antitrust Litigation, Case No. 08-cv-02516-VM-GWG (S.D.N.Y.).
20
                     3.      Kate M. Baxter-Kauf of Lockridge Grindal Nauen
21                           P.L.L.P. as Plaintiffs’ Executive Committee Member

22
             As set forth in her resume, attached as Exhibit 3, Ms. Baxter-Kauf currently serves as a partner
23
     at Lockridge Grindal Nauen P.L.L.P., and has extensive experience in technology, networks, and
24
     privacy cases in addition to antitrust experience through trial. She has almost 10 years of complex
25
     litigation experience and the full support of her firm to assist in leading this litigation, as reflected in
26
     the resume attached as Exhibit 3. Lockridge Grindal Nauen is a nationally recognized law firm based
27
     out of Minneapolis, Minnesota that specializes in complex and class action litigation, especially
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 1   antitrust cases such as this one. Ms. Baxter-Kauf regularly represents plaintiffs in consumer, data

 2   privacy, data breach, antitrust, ERISA, and securities class actions across the country and in the

 3   Northern District of California. She was appointed liaison counsel by the Honorable Paul A.

 4   Magnuson in In re EpiPen ERISA Litigation, Case No. 17-cv-1884, ECF No. 301 (D. Minn. Nov. 20,

 5   2018). In addition, Ms. Baxter-Kauf was a part of the trial team in In re Wholesale Grocery Products

 6   Antitrust Litigation, MDL No. 2090 (D. Minn.), which sought damages on behalf of wholesale

 7   grocers against one of the two largest wholesale grocers in the United States and involved multiple

 8   appeals to the Eighth Circuit Court of Appeals. During law school, she also served as a law clerk for

 9   the Student Law Intern Program for the Networks, Technology and Enforcement Section of the

10   Antitrust Division at the Department of Justice, investigating technology companies for antitrust

11   violations.

12           As a result, Ms. Baxter-Kauf has an in-depth understanding of the relevant substantive law at

13   issue in the instant litigation, as well as the underlying industries and technology necessary to

14   prosecute the case effectively. Ms. Baxter-Kauf prides herself on working collaboratively with others

15   to achieve the best possible result for the class.

16           D.      Counsel Will Commit the Necessary Resources to Represent the Class

17           As required by Rule 23(g), courts also consider the resources that proposed class counsel will

18   commit to the prosecution of the lawsuit. LeBeau v. United States, 222 F.R.D. 613, 619 (D.S.D. 2004)

19   (“In considering the resources that counsel will commit to representing the class, the Court may

20   consider the staff, supplies and professional commitments of that attorney.”) (citation omitted).

21           Mr. Isquith, Jr., Ms. Markert, and Ms. Baxter-Kauf are fully aware of the financial and human

22   resources that will be required to bring this case to a successful conclusion. The Court should have

23   no reservations that proposed interim counsel and their law firms have and are willing to commit the

24   necessary resources for the benefit of Plaintiff Negron and the advertiser class.

25           If appointed, their team will follow a billing protocol to ensure that the class is not overcharged

26   for attorney services consistent with the protocol implemented by this Court in other matters. See In

27   re Stubhub Refund Litig., Case No. 4:20-md-02951-HSG, ECF No. 28, at 3 (N.D. Cal. Nov. 18, 2020).

28   To ensure that duplicative billing is avoided, Mr. Isquith, Jr., will implement contemporaneous billing

                                                          6
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 1   guidelines and efficiency protocols, similar to those implemented in other consolidated class actions

 2   within this District, and will ensure that any potential fee applications comport with Ninth Circuit law

 3   and the billing requirements and disclosures outlined in the Northern District’s Procedural Guidance

 4   for Class Action Settlements.

 5          Mr. Isquith, Jr., Ms. Markert, and Ms. Baxter-Kauf are amply poised to lead this litigation

 6   from the outset and look forward to successfully prosecuting Google for its alleged wrongdoing and

 7   misconduct as alleged in the complaint.

 8          E.      Proposed Leadership Structure

 9          As indicated above, Plaintiff Negron requests that this Court appoint interim counsel in the

10   form of an Executive Committee with Mr. Isquith, Jr., as Chair and additional members consisting of

11   Ms. Markert and Ms. Baxter-Kauf. Such organization is appropriate in complex cases, and can be

12   used to minimize expense and provide judicial efficiency, and a three-person committee structure

13   such as that proposed has been previously found appropriate in antitrust cases in this district. See In

14   re Qualcomm Antitrust Litig., No. 17-MD-02773-LHK, 2017 WL 2222531, at *1 (N.D. Cal. May 15,

15   2017) (appointing three-member steering committee to best serve the interest of antitrust class); see

16   also In re Fairlife Milk Prod. Mktg. & Sales Practices Litig., No. 19-CV-3924, 2020 WL 362788, at

17   *3 (N.D. Ill. Jan. 22, 2020) (appointing three-firm structure because “the cross-fertilization of ideas

18   from multiple law firms is preferable to a single firm as lead counsel” given Court’s confidence in

19   “safeguards to ensure that a tripartite leadership structure will not result in duplication of work or

20   other inefficiencies”); In re Aurora Dairy Corp., No. 4:08MD01907 ERW, 2008 U.S. Dist. LEXIS

21   32189, at *15-16, *21-22 (E.D. Mo. Apr. 18, 2008) (“When coordinating multi-district litigation,

22   district courts may combine procedures, appoint lead counsel, recognize steering committees of

23   lawyers, limit and manage discovery, etc. to minimize expense to all litigants and to provide judicial

24   efficiency.”) (internal citations omitted). Here, Plaintiff proposes that the Executive Committee be

25   generally responsible for the overall conduct and have the following specific responsibilities:

26          1.      Determine and present to the Court and opposing parties the position of Plaintiff and

27                  putative class members on all matters arising during pretrial proceedings;

28

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 1          2.      Enter into stipulations with opposing counsel as necessary for the conduct of the

 2                  litigation;

 3          3.      Coordinate the initiation and conduct of discovery on behalf of Plaintiff and putative

 4                  class members, including the preparation of joint interrogatories and requests for the

 5                  production of documents and the examination of witnesses in depositions;

 6          4.      Hire expert witnesses and consultants on behalf of the putative class, as needed to

 7                  prepare for class certification or trial, and advance other costs that may be reasonable

 8                  and necessary to the conduct of the litigation;

 9          5.      Conduct settlement negotiations on behalf of Plaintiff and putative class members,

10                  where appropriate, and to present any proposed settlements to the Court on behalf of

11                  putative class members;

12          6.      Prepare and distribute status reports to any other law firms that may appear in the case

13                  to represent putative class members;

14          7.      Monitor the activities of any other law firms that may appear in the case to represent

15                  putative class members, and, where appropriate, allocate work assignments to such

16                  firms;

17          8.      Collect and maintain all Plaintiff’s counsels’ contemporaneously recorded time

18                  records, and to ensure that unnecessary expenditures of time and funds are avoided, as

19                  described above; and

20          9.      Perform such other duties as may be incidental to the proper prosecution and

21                  coordination of pretrial activities on behalf of Plaintiff and the putative class or

22                  authorized by further order of this Court.

23   See Stubhub Refund Litig., Case No. 4:20-md-02951-HSG, ECF No. 28, at 2-3.

24          As Chair, Mr. Isquith, Jr., will supervise these tasks and allocate assignments in consultation

25   with the Executive Committee. Mr. Isquith will also be responsible for coordinating, when necessary,

26   with Defense Counsel and Counsel in the In Re Digital Advertisement matter to ensure an efficient

27   and cost-effective discovery process for Ms. Negron and the class. As to the two other members, Ms.

28   Markert and Ms. Baxter-Kauf will implement assignments, conduct discovery, and present arguments

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 1   to the Court as directed by the Chair. In addition, Ms. Markert, who is a member of the California

 2   Bar and admitted to practice in both the State of California and the United States District Court for

 3   the Northern District of California, will serve the functions typically assigned to liaison counsel, such

 4   as ensuring conformance with local rules, acting as co-counsel as required by Civil L.R. 11-3, and

 5   filing and serving pleadings and other papers.

 6          F.      Appointment of Proposed Interim Counsel Will
 7                  Advance Diversity in Lead Counsel Appointments

 8          Finally, the “demonstrat[ion of] careful attention to creating a diverse team” supports
 9   appointment of the proposed Interim Counsel here. Stubhub Refund Litig., Case No. 4:20-md-02951-
10   HSG, ECF No. 28, at 2. As the Bolch Judicial Institute at Duke Law School’s Guidelines and Best
11   Practices for Large and Mass-Tort MDLs note, when appointing Interim Counsel, “a balanced team,
12   with diversity of skills, expertise, prior casework and role, and demographics, should be sought.” 1
13   The proposed Interim Counsel structure is composed of one lead counsel and a two-person executive
14   committee made up of two women, a variety of skills, and spans the whole country geographically.
15          Here, in addition, appointment of the proposed Interim Counsel would be consistent with the
16   Directive of the Guidelines that “the strong repeat player dynamic that has historically existed reduces
17   fresh outlooks and innovative ideas, and increases pressure to go along with the group and conform,
18   all of which may negatively impact the plaintiffs whose cases are being pursued in the MDL. At the
19   same time, leadership needs repeat players who understand the ropes.” Ms. Markert has been involved
20   in class action litigation since 2006, Mr. Isquith, since 2009, and Ms. Baxter-Kauf since 2011. They
21   and their firms have recovered millions for class members, victims of antitrust violations, and
22   shareholders, have extensive antitrust experience, and have litigated all portions of a case from initial
23   pleadings to trial. They have the backing of nationally-known more senior lawyers and law firms with
24   sufficient resources to raise no concerns about adequate protection of the class. At the same time,
25   each has limited experience in formal court appointments to leadership, and appointment would
26
     1
27     Bolch Judicial Institute at Duke Law School, Guidelines and Best Practices for Large and Mass-
     Tort MDLs, Sept. 2018 (2d Ed.), at 37–38, available at https://judicialstudies.duke.edu/wp-
28   content/uploads/2018/09/MDL-2nd-Edition-2018-For-Posting.pdf (last accessed Mar. 8, 2021).

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 1   advance the ability of fresh outlooks and innovative ideas, and obtaining leadership experience for

 2   new and diverse leaders. This factor supports the appointment of counsel and adoption of the

 3   proposed Interim Counsel slate. Accord Fairlife, 2020 WL 362788, at *1 (N.D. Ill. Jan. 22, 2020)

 4   (noting appointment of tripartite group made up of two women and one man as advancing diversity

 5   goals, consistent with Rule 23(g), and consistent with Bolch Judicial Institute guidelines).

 6   III.    CONCLUSION
 7           For the foregoing reasons, Plaintiff Negron, individually and on behalf of all others similarly
 8   situated, respectfully requests the Court appoint her counsel, Fred T. Isquith, Jr., as Chair of the
 9   Plaintiffs’ Executive Committee, with the Executive Committee to be comprised of Mr. Isquith and
10   two others, Pamela A. Markert and Kate M. Baxter-Kauf, as Interim Counsel to act on behalf of
11   Plaintiff and the proposed class. See Fed. R. Civ. P. 23(g)(3).
12
13   Dated: March 29, 2021                         Respectfully submitted,
14
15                                                 CERA LLP
16
                                                   By:        /s/ Pamela A. Markert
17                                                            Pamela A. Markert
18                                                            -and-
19
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20                                                 Fred T. Isquith, Jr. (admitted pro hac vice)
                                                   Robert S. Schachter (admitted pro hac vice)
21                                                 Sona R. Shah (pro hac vice forthcoming)
22                                                 ZWERLING, SCHACHTER
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14
15                                            Attorneys for Plaintiff and the Class

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                                FIRM RESUME OF
                      ZWERLING, SCHACHTER & ZWERLING, LLP

        The firm of Zwerling, Schachter & Zwerling, LLP was formed on January 1, 1985 (the
“Zwerling Firm”), and is currently involved in numerous class actions in the areas of securities
fraud, consumer fraud, and antitrust litigation.

Antitrust / Consumer Litigation

         The Zwerling Firm has acted or is presently acting as a lead counsel or member of an
executive committee in numerous class actions involving antitrust claims and deceptive trade
practices, including: In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litigation, 18-
MD-2819 (E.D.N.Y.); In re Cipro Cases I and II, JCCP Nos. 4154 and 4220 (Cal. Super.); In re
Ciprofloxacin Hydrochloride Antitrust Litigation, MDL No. 1383 (E.D.N.Y.);In re OxyContin
Litigation, MDL No. 1603 (S.D.N.Y.); In re Insurance Brokerage Antitrust Litigation, MDL No.
1663 (D.N.J.); In re Neurontin Antitrust Litigation, MDL No. 1479 (D.N.J.); In re Tamoxifen
Citrate Antitrust Litigation, MDL No. 1408 (E.D.N.Y.); Karofsky v. Abbott Laboratories, No. CV-
95-1009 (Me. Super. Ct. Cumberland County) (as well as in 10 related cases in other state courts);
In re Lorazepam and Clorazepate Antitrust Litigation, MDL No. 1290 (D.D.C.) (as well as in 11
related cases in state courts); Newman v. DuPont Merck Pharmaceutical Company, No. 788358
(Cal. Super. Ct. Orange County); Pickett v. Holland America Line-Westours, Inc., 6 P.3d 63
(Wash. Ct. App. 2000); Latman v. Costa Cruise Lines, N.V., 758 So. 2d 699 (Fla. Dist. Ct. App.
2000); Renaissance Cruises, Inc. v. Glassman, 738 So. 2d 436 (Fla. Dist. Ct. App. 1999) (as well
as in 7 related cases in other state courts); Garcia v. General Motors Corporation, No. L-4394-95
(N.J. Super. Ct.); In re Playmobil Antitrust Litigation, No. 9:95-cv-2896 (JS) (E.D.N.Y.); and Boni
v. America Online Inc., C.A. No. 95-C-07 (Del. Ch.) and Feige v. America Online Inc., Index No.
118333/95 (N.Y. Sup. Ct. N.Y. County) (as well as other related cases in state courts).

        In the antitrust area, the firm is currently Liaison Counsel for indirect purchaser plaintiffs
in the Restasis Antitrust Litigation. In that capacity, the firm participates in all decision-making
in connection with the prosecution of the litigation and serves as the direct liaison with the Court
and other parties.

        The Zwerling Firm has represented union health and welfare funds in litigation to recover
damages for price-fixing and other anti-competitive behavior for over 20 years. Such actions have
included the Norvir Antitrust Litigation, the Tamoxifen Antitrust Litigation, the Lorazepam and
Clorazepate Antitrust Litigation, and the Ciprofloxacin Hydrochloride Antitrust Litigation. In
both the federal MDL and the California Cipro cases, the firm served as Co-Lead Counsel
challenging pay-for-delay pharmaceutical agreements on behalf of a class of indirect purchasers
of the drug ciprofloxacin. As Co-Lead Counsel in California, the Zwerling Firm was able to revive
a case that had been dismissed by numerous courts and abandoned by most of plaintiffs’ counsel.
In the process, California Co-Lead Counsel were able to reverse a significant error in the
application of antitrust law to pharmaceutical reverse payment agreements and achieve a total
settlement of $399.1 million; a total in excess of plaintiffs’ expert’s estimate of single damages.


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       In In re Abbott Laboratories Norvir Antitrust Litigation, the Zwerling Firm represented the
SEIU International Health Fund (“SEIU”) against Abbott Laboratories in an action for monopoly
leveraging under Section 2 of the Sherman Antitrust Act, as well as the California Unfair
Competition law and state law unjust enrichment. In August, 2008, the parties reached a settlement
whereby thirteen not-for-profit organizations shared almost $5 million in Cy Pres funds.

        In In re OxyContin Litigation, the Zwerling Firm represents Local 1199 National Benefit
Fund and has been appointed third-party payor co-lead counsel. This matter challenges the
monopoly pricing of OxyContin, a pain killer, the patents for which are in question. The matter is
currently stayed pending the resolution of the underlying patent litigation.

        The Zwerling Firm was appointed co-lead counsel for plaintiffs in numerous related
indirect purchase actions brought against Mylan Laboratories, Inc. regarding injury to competition
and monopolization, as well as price fixing. Those actions included an action in federal court, In
re Lorazepam & Clorazepate Antitrust Litigation, and resulted in settlements of over $100 million.
The plaintiffs represented by the Zwerling Firm included several institutions, such as union health
funds and private insurers.

        The Zwerling Firm was co-lead counsel and a member of the Executive Committee in
eleven actions filed against the major pharmaceutical manufacturers alleging violations of state
antitrust laws for charging higher prices to consumers who purchased brand name prescription
drugs from retail pharmacies. Those cases resulted in a $65 million settlement. The courts
presiding over those cases have commented on the Zwerling Firm’s expertise:

          I think the lawyering in this case is most commendable. I think that both sides have
           accorded themselves in a manner that allows us to be proud of the profession. . . .

Transcript of Hearing at 16-17, Kerr v. Abbott Laboratories, No. 96-2837 (Minn. Dist. Ct. Nov.
24, 1998).

          [T]his Court, in particular, has been helped along every step of the way by some
           outstanding lawyering . . . .You can hardly say that there’s been anything but five star
           attorneys involved in this case.

Transcript of Hearing at 31 & 33, Scholfield v. Abbott Laboratories, No. 96 CV 460 (Wis. Cir. Ct.
Oct. 5, 1998).

          I think the quality of counsel is excellent.

Transcript of Hearing at 28, McLaughlin v. Abbott Laboratories, No. CV 95-628 (Ariz. Super. Ct.
Oct. 28, 1998).

          I’ll join my learned colleagues from this and other jurisdiction[s] in commending
           counsel in arriving at something that represents a great deal of hard work and a great
           deal of ingenuity in putting together a settlement of this magnitude and complexity,

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           and especially the cost effective way in which this settlement is proposed to be
           distributed.

Transcript of Hearing at 17, Karofsky v. Abbott Laboratories, No. CV-95-1009 (Me. Super. Ct.
Dec. 2, 1998).

       In Insurance Brokers, settlements totaling over $198 million were reached with three of
the many defendant groups. The Zwerling Firm was also one of the three class counsel in
Rodriguez v. West Publishing Corporation, No. 2:05-cv-3222 R(MCx) (C.D. Cal.), where a $49
million settlement of antitrust claims was approved by the Court and affirmed by the Ninth Circuit
Appeals on behalf of a class of law graduates enrolled in the BAR/BRI bar review courses.

        In addition, the Zwerling Firm represented consumers who were victims of overcharging
in the sale of toys in In re Playmobil Antitrust Litigation. Judge Seybert complimented the work
of Class Counsel, including the Zwerling Firm, stating in her opinion certifying the Class:

       As set forth in greater detail in the firm resumes...: (1) Zwerling, Schachter &
       Zwerling, LLP [and three other firms]...all have extensive familiarity with the
       prosecution of complex litigations, class actions and specifically, antitrust
       litigations. This is further borne out by counsels’ submissions and conduct to date
       before this Court.

In re Playmobil Antitrust Litigation, 35 F. Supp. 2d 231, 245 (E.D.N.Y. 1998) (citation omitted).

        In the area of deceptive trade practices, the Zwerling Firm was lead counsel in coordinated
nationwide actions against the world’s leading passenger cruise lines regarding their advertising
practices concerning “port charges.” (Cicogna v. Royal Caribbean Cruises, Ltd., No. 96-8075
(Fla. Cir. Ct. Dade County); Espinet v. Kloster Cruise Ltd., No. 96-8076 (Fla. Cir. Ct. Dade
County); Bellikoff v. Celebrity Cruises Inc., No. 96-8077 (Fla. Cir. Ct. Dade County); Hackbarth
v. Carnival Cruise Lines Inc., No. 96-8078 (Fla. Cir. Ct. Dade County); Glassman v. Renaissance
Cruises, Inc., No. 96-5490 (Fla. Cir. Ct. Broward County); Pickett v. Holland America Line-
Westours, Inc., No. 96-2-10831 (Wash. Super. Ct. King County) (“Pickett”), Barton v. Princess
Cruises Inc., No. BC 148448 (Cal. Super. Ct. Los Angeles County); Millheiser v. Dolphin Cruise
Line, No. 96-18146 (Fla. Cir. Ct. Dade County); Latman v. Costa Cruise Lines N.V., No. 96-18139
(Fla. Cir. Ct. Dade County); and Cronin v. Cunard Cruise Line Ltd., Index No. 115899/96 (N.Y.
Sup. Ct. N.Y. County)). These cases resulted in settlements in excess of $100 million. In Pickett,
the Court complimented the Zwerling Firm by declaring that “[t]his has been litigated very
professionally from the beginning to the end.”

        In addition, the Zwerling Firm was involved in cases regarding defective automobile brakes
(McGill v. General Motors Corporation, Index No. 15525/95 (N.Y. Sup. Ct. Bronx County)
(related to Garcia v. General Motors Corporation, No. L-4394-95 (N.J. Super. Ct.))).

      The Zwerling Firm was appointed Administrator for the General Motors Diesel Litigation
Fund under the direction of Judge Henry Bramwell, District Judge, United States District Court,

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Eastern District of New York.

Other Complex Litigation

        The Zwerling Firm represents numerous Indian Tribes and Native Villages seeking relief
from pharmaceutical manufacturers and distributors of prescription opioid drugs in In re: National
Prescription Opiate Litigation, MDL No. 2804 (N.D. Ohio). The Zwerling Firm serves on the
Tribal settlement committee, and helped organize and draft an amicus brief submitted on behalf of
over 450 Tribes throughout the United States.

       In County of Nassau v. Hotels.com, L.P., No. 2:06-cv-5724 (ADS) (E.D.N.Y.), the
Zwerling Firm represents Nassau County (NY) in a class action seeking to recover unpaid taxes
from internet-based hotel reservation companies on behalf of a class consisting of all New York
counties and municipalities.

         In addition, the Zwerling Firm has also represented union health and welfare funds in
litigation against the tobacco industry. Those claims were for the excess costs incurred by the
funds in providing health care to the members of their unions as a result of the fraudulent and
deceptive practices of the tobacco companies (Eastern States Health & Welfare Fund v. Philip
Morris, Inc., Index No. 603869/97 (N.Y. Sup. Ct. N.Y. County)).

       The Zwerling Firm has been counsel in high profile constitutional and civil rights actions.
In Haley v. Pataki, No. 3:95-cv-550 (TJM) (N.D.N.Y.), the firm obtained an order forcing the
Governor of the State of New York to stop withholding salaries from legislative employees in an
attempt to coerce members of the State Legislature to vote on his State budget. In a related case,
Dugan v. Pataki, Index No. 16341/95 (N.Y. Sup. Ct. Kings County), the Zwerling Firm obtained
the same relief for the elected members of the State Legislature.

        The Zwerling Firm has represented the New York City Council in Mayor of New York v.
Council of New York, Index No. 402354/95 (N.Y. Sup. Ct. N.Y. County), an action in which the
Mayor challenged the legislative powers of the City Council in connection with the establishment
of a board to review allegations of police corruption.

       The Zwerling Firm also represented the Straphangers Campaign, a mass transit advocacy
group, in New York Urban League, Inc. v. Metropolitan Transportation Authority, No. 1:95-cv-
9001 (RPP) (S.D.N.Y.), an action to compel the State of New York and the MTA to allocate transit
subsidies in a manner which does not have a discriminatory impact on minority ridership in New
York City.

       The Zwerling Firm was an active member of the 9/11 Union Project where it provided legal
representation pro bono for low income victims of the World Trade Center attacks and their
families.




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Securities Litigation

        The Zwerling Firm has acted or is presently acting as a lead counsel or as a member of an
executive committee for plaintiffs in many securities related lawsuits, including: Zoidis v. T. Rowe
Price Associates, Inc., No. 1:16-cv-02786-MJG (D. Md.); Kennis v. Metropolitan West Asset
Management, LLC, No. 2:15-cv-08162 (C.D. Cal.) GW-FFM; Redus-Tarchis v. New York Life
Investment, LLC, No. 2:14-cv-07991(D.N.J., Newark Division)-WHW-CLW; Tumpowsky v.
Harbor Capital Advisors, Inc., No. 1:14-cv-07210 (N.D. Ill., Eastern Division); Hebda v. Davis
Select Advisors, No. 14-cv-4318 (S.D.N.Y.); The Lynn Kennis Trust v. First Eagle Investment
Management, LLC, No. 1:14-cv-00585 (D. Del.); Goodman v. J.P. Morgan Investment
Management, Inc., No. 2:14 -cv-00414 (S.D. Ohio)-GLF-NMK; Clancy v. BlackRock Investment
Management, et al., No. 3:14-cv-01165 (D.N.J.)(JAP)(DEA); McClure v. Russell Investment
Management Company, No. 1:13-cv-12631(D. Mass.)–LTS; Kasilag v. Hartford Investment
Financial Services, LLC, No. 11-cv-1083 (D.N.J.); Toomey v. Hofhines, No. 1:09-cv-613-S-EJL-
MHW (D. Idaho); McCoy v. Cullum & Burks Securities, Inc., No. 8:09-cv-1084-DOC (RNBx)
(C.D. Cal.) (“Medical Capital Securities Litigation”); Billitteri v. Securities America, Inc., No.
3:09-cv-1568-F (N.D. Tex.) (“Provident Royalties Litigation”); Anwar v. Fairfield Greenwich
Limited, Master File No. 1:09-cv-118 (VM) (S.D.N.Y.) and In re Santander Optimal Securities
Litigation, No. 1:09-cv-20215-PCH (S.D. Fla.), both of which seek recovery on behalf of investors
in “feeder funds” that in turn invested with Bernard L. Madoff Securities, LLC.; In re Citigroup
Auction Rate Securities Litigation, No. 1:08-cv-3139 (LTS) (S.D.N.Y.); In re NYMEX Holdings
Shareholder Litigation, C.A. No. 3621 (VCN) (Del. Ch.); In re Vonage Initial Public Offering
(IPO) Securities Litigation, No. 3:07-cv-177 (FLW) (D.N.J.); In re BP Prudhoe Bay Royalty Trust
Securities Litigation, No. C06-1505 MJP (W.D. Wash.); Diana Allen Life Insurance Trust v. BP
plc, No. 1:06-cv-14209 (PAC) (S.D.N.Y.); In re First BanCorp Securities Litigation, No. 3:05-cv-
2148 (GAG) (D.P.R.); Fox v. Levis, No. 1:07-cv-3252 (RO) (S.D.N.Y.); In re Silicon Image, Inc.
Securities Litigation, Master File No. C 05-456 (MMC) (N.D. Cal.); In re Old Banc One
Shareholders Securities Litigation, No. 00C2100 (N.D. Ill.); In re Network Associates Derivative
Litigation, No. CV 781854 (Cal. Super. Ct. Santa Clara County); In re Telxon Corporation
Securities Litigation, No. 5:98-cv-2876 (KMO) (N.D. Ohio); Hayman v. PricewaterhouseCoopers
LLP, No. 1:01-cv-1078 (KMO) (N.D. Ohio); In re Corrections Corporation of America
Shareholder Litigation, Master File No. 98-1257-iii (Tenn. Ch.); In re Adaptec Inc. Derivative
Litigation, No. CV 772590 (Cal. Super. Ct. Santa Clara County); In re Pacific Scientific Securities
Litigation, No. SACV-96-1106-LHM(EEx) (C.D. Cal.); Kaplan v. Prins Recycling Corporation,
No. 2:96-cv-2444 (WHW) (D.N.J.); In re Health Management Inc. Securities Litigation, No. 9:96-
cv-889 (ADS) (E.D.N.Y.); Weikel v. Tower Semiconductor, Ltd., No. 2:96-cv-3711 (AJL)
(D.N.J.); In re Bennett Funding Group, Inc. Securities Litigation, No. 1:96-cv-2583 (JES)
(S.D.N.Y.); In re Horizon/CMS Healthcare Corporation Securities Litigation, Master File No.
1:96-cv-442 BB/LCS (D.N.M.); Rosenberg v. Stauth, No. 5:96-cv-1808-M (W.D. Okla.); Solomon
v. Armstrong, C.A. No. 13515 (Del. Ch.) (the “GM/EDS Split-off Litigation”); In re Archer Daniels
Midland Company Derivative Litigation, C.A. No. 14403 (Del. Ch.); In re American Pacific
Securities Litigation, No. CV-S-93-576-PMP (D. Nev.); McNeil v. Austin, Index No. 33189/91
(N.Y. Sup. Ct. N.Y. County), In re Foodmaker/Jack-in-the-Box Securities Litigation, No. C93-
517 WDL (W.D. Wash.); In re Ames Department Stores, Inc. Stock Litigation, No. 2:90-cv-27
(PCD) (D. Conn.); In re General Development Corporation Securities Litigation, No. 1:90-cv-691

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(SM) (S.D. Fla.); In re Republic Pictures Corporation Shareholders Litigation, C.A. No. 13122
(Del. Ch.); In re Blockbuster Entertainment Corporation Shareholders Litigation, C.A. No. 13319
(Del. Ch.); In re First Capital Holdings Corporation Financial Products Securities Litigation,
MDL No. 901 (C.D. Cal.); In re New World Entertainment Securities Litigation, Master File No.
CV 88-6260-MRP(Kx) (C.D. Cal.); In re Anchor Securities Litigation, No. 1:88-cv-3024 (CPS)
(E.D.N.Y.); In re 3Com Corporation Securities Litigation, No. C-89-20480 (WAI) (N.D. Cal.); In
re Par Pharmaceutical, Inc. Derivative Litigation, No. 1:89-cv-5497 (RPP) (S.D.N.Y.); Fishbein
v. Resorts International Inc., No. 1:89-cv-6043 (MGC) (S.D.N.Y.); In re Bank of Boston Securities
Litigation, Master File No. 89-2269-H (D. Mass.); In re Howard Savings Bank Securities
Litigation, No. 2:89-cv-5131 (WGB) (D.N.J.); Merrit v. Gulf States Utilities Co., No. B-86-574-
CA (E.D. Tex.).

        In addition, the Zwerling Firm represents or has represented public employee pension funds
and union pension funds in securities litigations, including: In re MGIC Investment Corporation
Securities Litigation, No. 2:08-cv-458-LA (E.D. Wis.); In re American International Group, Inc.
Securities Litigation, No. 1:08-cv-4772 (LTS) (S.D.N.Y.); In re Doral Financial Corporation
Securities Litigation, MDL No. 1706 (S.D.N.Y.); and Clinton Charter Township Police and Fire
Retirement System v. Reckler, No. 2:03-cv-5008 (TCP) (E.D.N.Y.).

       The following is a representative sample of the complex securities claims which the
Zwerling Firm has litigated:

       ·       In re First BanCorp Securities Litigation, No. 3:05-cv-2148 (GAG) (D.P.R.) - co-
lead counsel in securities fraud class action involving sham mortgage sales transactions between
Puerto Rico banks. The Zwerling Firm achieved a $74.25 million settlement in less than eighteen
months of litigation, which is pending court approval.

         ·      Hayman v. PricewaterhouseCoopers, LLP, No. 1:01-cv-1078 (KMO) (N.D. Ohio)
- brought on behalf of investors in Telxon Corp. securities against the company’s auditors for
issuing false opinions on the company’s financial statements. The Zwerling Firm obtained a
recommendation for a default judgment against PricewaterhouseCoopers, LLP and subsequently
settled the action for $27.9 million.

        ·       In re Telxon Corp. Securities Litigation, No. 5:98-cv-2876 (KMO) (N.D. Ohio) - a
securities fraud class action where the Zwerling Firm, as sole lead counsel obtained a settlement
of $40 million on behalf of investors. Class members in the PricewaterhouseCoopers and Telxon
actions received over 70% of their losses in the two settlements.

       ·       In re Corrections Corporation of America Shareholder Litigation, Master File No.
98-1257-iii (Tenn. Ch.) - shareholder class action challenging a management-led buyout of public
shareholders in exchange for shares in a publicly held REIT.




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       ·       In re Bennett Funding Group, Inc. Securities Litigation, No. 1:96-cv-2583
(S.D.N.Y.) - securities fraud class action involving the single largest alleged Ponzi scheme in the
United States. The Zwerling Firm has been on the Executive Committee which has successfully
prosecuted the accountants, insurers, and sellers of the alleged fraudulent securities.

        ·       In re Health Management Inc. Securities Litigation, No. 9:96-cv-889 (ADS)
(E.D.N.Y.) - securities fraud class action alleging accounting fraud by the company and its
auditors. The Zwerling Firm was co-lead trial counsel in the first case tried pursuant to the Private
Securities Litigation Reform Act of 1995.

        ·      Rosenberg v. Stauth, No. 5:96-cv-1808-M (W.D. Okla.) - shareholders’ derivative
action involving alleged improper business practices at Fleming Companies, Inc. in which the
demand futility defense was successfully defeated.

        ·       In re ICN/Viratek Securities Litigation, No. 1:87-cv-4296 (S.D.N.Y.) - securities
fraud class action involving FDA sought approval of an HIV drug.

        ·       McNeil v. Austin, Index No. 33189/91 (N.Y. Sup. Ct. N.Y. County) - shareholders’
derivative action regarding the sale of defective nuclear containment systems by General Electric.

       ·        In re Adaptec Inc. Derivative Litigation, Master File No. CV 772590 and In re
Network Associates Derivative Litigation, Master File No. CV 781854 (Cal. Super. Ct. Santa Clara
County) – shareholders’ derivative lawsuits pursuant to California’s insider trading statute to
recover profits from the company’s officers and directors.

       ·       In re Ames Department Stores, Inc. Stock Litigation, No. 2:90-cv-27 (PCD) (D.
Conn.) - securities fraud class action in which the Second Circuit reaffirmed the scope of the “in
connection with” requirement of the Securities Exchange Act § 10(b).

        Courts have commented favorably upon the expertise of the Zwerling Firm. In appointing
the firm as lead counsel in In re Old Banc One Shareholders Securities Litigation,
No. 00C2100 (N.D. Ill.), the Court noted that the “attorneys have extensive experience, many
successes on their resumes, and have obtained sizable recoveries on behalf of their clients.”
Minute Order dated December 21, 2000.

         In appointing it as lead counsel in In re Telxon Corporation Securities Litigation, No. 5:98-
cv-2876 (KMO) (N.D. Ohio), the Court determined that the Zwerling Firm has “the requisite
ability and expertise to prosecute and manage this litigation effectively.” Memorandum and Order
at 39, August 25, 1999.

        As a member of a team of plaintiffs’ trial counsel in In re ICN/Viratek Securities Litigation,
No. 1:87-cv-4296 (S.D.N.Y.), the Zwerling Firm was complimented by Judge Kimba Wood as
having done a “superb job on behalf of the class.... This was a very hard fought case. You had
very able, superb opponents, and they put you to your task.... The trial work was beautifully done
and I believe very efficiently done....”

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       In In re Par Pharmaceutical, Inc. Derivative Litigation, No. 1:89-cv-5742 (RPP)
(S.D.N.Y.), Judge Patterson, in commenting on the Zwerling Firm, said “[they] acted skillfully
and resourcefully....[The Zwerling Firm] exercised wisdom and judgment and negotiated a skillful
settlement with the defending company and with the officer and director/defendants.” Slip opinion
dated June 15, 1992.

       Chief Judge Weinstein, in the Jack Eckerd Corporation litigation (E.D.N.Y. 1986), and
Judge Charles P. Sifton in both Golden v. Shulman, [1988 Transfer Binder] Fed. Sec. L. Rep.
(CCH) ¶ 94,060 (E.D.N.Y. Sept. 30, 1988) and Cagan v. Anchor Savings Bank, FSB, [1990
Transfer Binder] Fed. Sec. L. Rep. (CCH) ¶ 95,324 (E.D.N.Y. May 22, 1990) also commented
favorably upon the Zwerling Firm.

        One of the partners of the Zwerling Firm was appointed by former Chief Judge Browning
as Proof-of-Claim Counsel in connection with the loss analysis in In re Washington Public Power
Supply System Securities Litigation, MDL No. 551 (D. Ariz.). In that matter, former United States
District Judge Nicholas J. Bua, as Special Master appointed by the Court, in commenting on one
of the partners in the Zwerling Firm, said: “I…find that the services of Mr. Schachter were
efficiently and reasonably performed by him personally....Mr. Schachter specifically was
appointed by the District Court to serve as Claims Counsel....It was not unreasonable for a senior
partner like Mr. Schachter, with his vast knowledge of the case, to directly oversee the claims
administration process rather than relying upon less knowledgeable junior attorneys. The class
received its money’s worth for Mr. Schachter’s services....”

                                       Members of the Firm

Jeffrey C. Zwerling

         Jeffrey C. Zwerling was admitted to the bar of the State of New York in 1972 and to the
bar of the State of Arizona in 1981; he is admitted to the following federal courts: the United States
District Court for the Southern and Eastern Districts of New York, and the United States Court of
Appeals for the Second Circuit. He received a Bachelor of Science degree with Honors from
Lehigh University in 1968 and a Juris Doctor degree from Columbia University School of Law in
1971. He was Articles Editor of the Columbia Journal of Transnational Law. His professional
affiliations include: New York State Bar Association, Association of the Bar of the City of New
York, Nassau County Bar Association, and State Bar of Arizona.

       On July 1, 1977, Mr. Zwerling founded the Law Offices of Jeffrey C. Zwerling; on January
1, 1985 that firm became Zwerling, Schachter & Zwerling, LLP. Prior to 1977, Mr. Zwerling was
associated with the firms of Gasperini, Koch & Savage; Koch & Gluck; and Murray A. Gordon,
P.C., with emphasis on civil litigation, real estate, general corporate and commercial matters. Mr.
Zwerling has represented and advised the Uniformed Fire Officers Association in regard to its
pension funds and annuity plans.

       Mr. Zwerling has extensive experience in all phases of complex litigation, including jury

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and non-jury trials, mediation, expert discovery, and settlement negotiations. He has negotiated
several innovative corporate governance and structural changes in the resolution of shareholders'
complaints. He is highly knowledgeable about economic and finance issues. Mr. Zwerling co-
authored “The Dell Case: The Doors To The Courts Close Further For Investors” in the Aspatore
Special Report (Thomson Reuters/Aspatore 2008).


Robert S. Schachter

         Robert S. Schachter was admitted to the bar of the State of New York in 1972; he is
admitted to the following federal courts: the United States District Court for the Southern and
Eastern Districts of New York and the Central District of California, the United States Court of
Appeals for the Second, Fifth and Ninth Circuits, and the Supreme Court of the United States. He
received a Bachelor of Arts degree from Syracuse University in 1968 and a Juris Doctor degree
from Brooklyn Law School in 1971. His professional affiliations include: The American Bar
Association (Lecturer, Panels in Class Actions, 1980 and 1998) and the Second Circuit Federal
Bar Council. Mr. Schachter was a panelist at the Public Funds Summit (2002-2004), Investment
Education Symposium sponsored by the Council of Louisiana Trustees (2002), and Fire & Police
Pension Summit (2002). Mr. Schachter is a panelist for a series of seminars moderated by
Professor Francis McGovern of the Duke University Law School concerning “Distribution of
Securities Litigation Settlements—Improving the Process.” These seminars are aimed to develop
solutions to improve the efficiency and effectiveness of securities litigation settlement
distributions. Participants in the conference include attorneys, judges, regulators, institutional
filers and claims administrators. The purpose of the seminars is to prepare a report for presentation
to the Federal Judicial Conference.

        Prior to the formation of the Zwerling Firm, Mr. Schachter was associated since 1973 with
the firm now known as Labaton Sucharow LLP. Mr. Schachter became a partner of that firm on
January 1, 1978, concentrating in complex multi-district litigation.

        Mr. Schachter has extensive experience in all phases of complex litigation. He has been
involved in many settlement negotiations, as well as the drafting of complex settlement documents,
and has particular expertise in the administration of class settlements. Mr. Schachter has been
instrumental in crafting novel settlements which have been applauded by courts in securities, as
well as antitrust matters, including corporate governance issues.


Robin F. Zwerling

       Robin F. Zwerling was admitted to the bar of the State of New York in 1976; she is
admitted to the following federal courts: the United States District Court for the Southern and
Eastern Districts of New York, the United States Court of Appeals for the Second, Fourth, Sixth,
Seventh and Ninth Circuits, and the Supreme Court of the United States. She received a Bachelor
of Arts degree cum laude from Jackson College of Tufts University in 1972, and a Juris Doctor
degree from Georgetown University Law Center in 1975. Her memberships include: the

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American Bar Association, the National Institute of Trial Advocacy, the National Association of
Securities and Commercial Law Attorneys, and the Second Circuit Federal Bar Council. As a
member of the Program Committee of the Second Circuit Federal Bar Council, Ms. Zwerling plans
and coordinates Continuing Legal Education programs.

       Ms. Zwerling has concentrated in litigation since her graduation from law school. At that
time, she became associated with Martin, Clearwater & Bell, becoming a partner in 1982 and
remained there until the formation of the Zwerling Firm in 1985. Ms. Zwerling has extensive
experience in all phases of litigation, including trials and appellate arguments. She has tried cases
in both state and federal courts. Ms. Zwerling successfully completed the National Institute of
Trial Advocacy’s Advanced Trial Practice course after having tried a number of cases.


Susan Salvetti

        Susan Salvetti was admitted to the bar of the State of New York in 1980; she is admitted
to the following federal courts: the United States District Court for the Southern and Eastern
Districts of New York and the United States Court of Appeals for the Second and Sixth Circuits.
She received a Bachelor of Arts degree summa cum laude from Thomas More College of Fordham
University in 1976 and a Juris Doctor degree from Fordham University School of Law in 1979.
Her memberships include: the American Bar Association, the Second Circuit Federal Bar Council,
Who’s Who in American Women, and Phi Beta Kappa. Ms. Salvetti authored the published Report
on Class Certification for Particular Issues Pursuant to Federal Rules of Civil Procedure
23(C)(4)(A), 12 NYLitigator 63 (2007).

       Ms. Salvetti has concentrated in litigation throughout her career, becoming a partner of the
Zwerling Firm on January 1, 1992. Prior to her association with the firm in 1985, she was
associated with Martin, Clearwater & Bell. Prior to that time, Ms. Salvetti was associated with
Newman, Tannenbaum, Helpern & Hirschtritt, a general practice firm.

       Ms. Salvetti has extensive experience in all phases of complex litigation, including as trial
counsel; she has taken and defended numerous depositions, argued motions before trial and
appellate courts, and negotiated complicated settlements in both securities and consumer matters.

                                            Of Counsel

Fred T. Isquith, Jr.

       Fred T. Isquith, Jr. was admitted to the bar of the State of New York in 2010; he is also
admitted to the following federal courts: The United States District Court for the Southern and
Eastern Districts of New York. He received a Bachelor of Science degree from Cornell University
in 2004, and a Juris Doctor degree from Syracuse University College of Law in 2009, where he
served as an editor on the Journal of International Law and Commerce and as an executive board
member for the Moot Court Honors Society. Mr. Isquith also has a Master’s degree in Public
Administration from the Syracuse University Maxwell School of Citizenship and Public Affairs
in 2009.

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        Mr. Isquith has handled all phases of class action litigation with a concentration in
antitrust, commodities, market manipulation, and consumer class actions. He has served on the
New York County Lawyers’ Association’s Federal Courts Committee and currently serves on
New York City Bar Association’s Antitrust and Trade Regulation Committee. He has
published articles in the National Association of Shareholder and Consumer Attorneys
(“NASCAT”) weekly newsletter regarding some of his notable cases. In 2018 – 2020, Mr.
Isquith was named one of Super Lawyers' Rising Stars in the Antitrust field.


Fred T. Isquith, Sr.

       Fred Taylor Isquith, Sr. is Of Counsel – National Litigation to Zwerling, Schachter &
Zwerling. He graduated from Columbia University Law School in 1971. Since then, Mr. Isquith
has concentrated in antitrust and securities litigation, often as lead counsel in large, complex, class
actions across the country. Clients have included businesses and investors with claims for
wrongdoing against the largest corporations in America.

         Mr. Isquith has extensive experience in complex market and financial areas representing
institutional investors, such as public and labor pension funds, labor health and welfare benefit
funds, and private institutional investors. He has recovered over $7 billion. Prior to Zwerling,
Schachter & Zwerling, Mr. Isquith was Chair of the Antitrust Department of Wolf Haldenstein.
There, he was lead counsel in, among others, the Package Seafood Antitrust Litigation, (S.D. Cal.),
the Keurig Coffee Antitrust Litigation (S.D.N.Y.), Salmon Antitrust (S.D. Fla.) and Viega
Plumbing Antitrust (M.D. Pa).

         Mr. Isquith is currently Chair of the Antirust Committee of the New York City Bar
Association. He was the President of the National Association of Securities and Commercial Law
Attorneys. He has lectured before bar associations and at law schools, has authored more than 50
published articles and 1000 columns and as recently as 2019 participated in a CLE program for
the ABA. He is the author of a chapter in a Bar Association book on Federal Civil Practice and is
often cited by legal industry media and the general press regarding complex litigation. Other
activities include the New York State Bar Association President’s Committee on Access to Justice
and its Committee on Evidence. He is also a Fellow of the American Bar Foundation.
         Mr. Isquith was co-lead in Panzier v. Wolf, which established the fraud on the market
theory in the Second Circuit, later affirmed by the United States Supreme Court.

      In the Genetically Modified Rice Litigation, Mr. Isquith represented US rice farmers in a
landmark action against Bayer A.G., achieving a recovery of $750 million.

        Courts have often commented favorably about Mr. Isquith where he was in a leadership
position. For example:

       K.J. Egleston, L.P. v. Heartland Industrial Partners, Judge Rosen stated in June 2010, of
the “outstanding job of representing clients” and further commented that “the conduct of all
counsel in this case and the result they have achieved for all of the parties confirms that they
deserve the national recognition they enjoy.”
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        Parker Friedland v. Iridium World Communicans Led, Judge Laughrey said in said
(October 2008), “I really appreciate the quality of work that we had in our chambers as a result of
this case.”

       In re: Comdisco Sec Litigation (July 2005), Judge Shadur commented upon the “kind of
professionalism that the critics of class actions…are never willing to recognize. I really cannot
speak too highly of the services rendered by class counsel in an extraordinarily difficult situation.”

        In re Dynamic Random Access Memory Antitrust Litigation, Judge Hamilton (August
2007) said: “…the results are exceptional…. The percentages as you have outlined them, do put
this [case] in one of the upper categories of results of this kind of [antitrust class action]. I am
aware of the complexity…. You did an exceptionally good job at organizing and managing the
case, assisting me in management of the case….”

        Mr. Isquith as among the nation’s top securities class action attorneys, as recognized in
Venture magazine. Mr. Isquith has been elected as among the top 5% of attorneys in the New York
City area chosen as a “Super Lawyer” since 2006; Avenue Magazine has listed him among the
legal elite; and he is listed in Martindale Hubbell as a “Preeminent Lawyer”, as well as in Who’s
Who in America.


Dan Drachler

        Dan Drachler was admitted to the bar of the State of New York in 1988; he is also admitted
to the bar of the States of Washington, and New Jersey; he is admitted to the following federal
courts: the United States District Court for the Southern and Eastern Districts of New York, the
United States District Court for the Western and Eastern Districts of Washington, the United States
Court of Federal Claims, and the United States Court of Appeals for the Second, Ninth and Federal
Circuits. Mr. Drachler received a Bachelor of Arts degree cum laude from the University of South
Carolina in 1980, and his Juris Doctor degree cum laude from New York Law School in 1987. At
New York Law School, Mr. Drachler was a member of the law review and was a John Ben Snow
Merit Scholar. His professional affiliations include: the Washington State Bar Association, the
King County Bar Association, and the American Antitrust Institute.

         Prior to joining the Zwerling Firm, Mr. Drachler served as Chief Deputy Attorney General
for the State of New York. In that position, all litigation and investigations were subject to Mr.
Drachler’s review, including those in the Antitrust and Consumer Protection Bureaus. Mr.
Drachler also regularly counseled state agencies and the Governor’s office regarding a variety of
legal and non-legal matters. From 1987 to 1993, Mr. Drachler was an associate and then partner
of Koppell, Drachler & Lipofsky. At that firm, he concentrated in general civil litigation, real
estate, and trusts and estates.

        Mr. Drachler was an Adjunct Professor at New York Law School from 1992-97. He taught
“Negotiation, Counseling and Interviewing,” a course designed to develop skills in counseling
clients and conducting negotiations in simple and complex matters. He was awarded Outstanding

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Antitrust Litigation Achievement in Private Law Practice by the American Antitrust Institute in
2017 and has been appointed to its Advisory Board.


Joseph Lipofsky

        Joseph Lipofsky was admitted to the bar of the State of New Jersey in 1972, and is also
admitted to the bar of the States of New York, Missouri and Michigan; he is admitted to the
following federal courts: the United States District Court for the Southern and Eastern Districts
of New York, the District of New Jersey, the Eastern District of Missouri, the Eastern District of
Michigan, and the Supreme Court of the United States. He received a Bachelor of Science degree
from Rider College in 1969, and a Juris Doctor degree cum laude from Seton Hall University
School of Law in 1972. His professional affiliations include: the American Bar Association; the
New York State Bar Association, where he serves on the Executive Committee of the Antitrust
Section; the National Lawyers Guild; and the National Association of Consumer Advocates. He
also serves as a Board Member for Brooklyn Legal Services Corporation A; and for the Sugar Law
Center for Economic and Social Justice.

        Prior to joining the Zwerling Firm, Mr. Lipofsky served as Deputy Counsel to the Attorney
General of New York. In that capacity, he regularly counseled state agencies and the Governor’s
office regarding a variety of legal and non-legal matters. From 1991 to 1993, Mr. Lipofsky was
counsel to the firm of Koppell & Drachler and then partner of Koppell, Drachler & Lipofsky. Prior
to 1991, he served as an attorney and Executive Director with legal service programs in New
Jersey, Missouri and Michigan, as well as with various labor unions including their ERISA funds.

       Mr. Lipofsky is located in the Zwerling Firm’s New York office.


                                         Senior Counsel

Hillary Sobel

        Hillary Sobel was admitted to the bar of the State of New York in 1989; she is also admitted
to the following federal courts: the United States District Court for the Southern and Eastern
Districts of New York and the United States Court of Appeals for the Fourth and Ninth Circuits.
She received a Bachelor of Arts Degree from Barnard College of Columbia University in 1985,
and a Juris Doctor degree from the Benjamin N. Cardozo School of Law of Yeshiva University in
1988, where she was Editor of the ILSA International Law Journal. Her memberships include: the
American Bar Association.

       Ms. Sobel has been involved in complex discovery, including responding to and drafting
discovery requests, questioning fact and expert witnesses, as well as arguments before the court.
She has also participated at trial, including witness questioning, as well as trial preparation.




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Andrew W. Robertson

        Andrew W. Robertson was admitted to the bar of the State of New York in 2005; he also
is admitted to the United States District Courts for the Southern and Eastern Districts of New York
and the United States Court of Appeals for the Sixth Circuit. He received a Bachelor of Arts
degree magna cum laude from Vanderbilt University in 2000, and a Juris Doctor degree from New
York University School of Law, where he was Managing Editor of the N.Y.U. Journal of
International Law and Politics.

        Mr. Robertson has handled all phases of class action and derivative litigation, as well as
arbitration, including taking and defending depositions, representing clients in jury trials and
arbitration hearings, and arguing at the trial and appellate levels. He has represented clients in
cases involving failure to disclose material information, breach of fiduciary duty, excessive mutual
fund fees, mismanagement of client accounts, incorrect valuation of securities, and unsuitable
investment recommendations.

        Mr. Robertson has published “Claims Involving Investment Companies,” Litigating
Securities Class Actions (LexisNexis 2011); “The Aftermath of the Mutual Fund Crisis,” 38
Review of Securities & Commodities Regulation 21 (Dec. 7, 2005); and “Be Careful What You
Waive,” San Francisco Daily Journal (Apr. 28, 2004). Prior to joining the Zwerling Firm, Mr.
Robertson was associated with Milbank, Tweed, Hadley & McCloy LLP.


Sona R. Shah

        Sona R. Shah was admitted to the bar of the State of New Jersey in 1997, and to the bar of
the State of New York in 1998; she is also admitted to the following federal courts: the United
States District Court for the Southern and Eastern Districts of New York. She received a Bachelor
of Arts degree from New York University in 1994, and a Juris Doctor degree from Fordham
University School of Law in 1997. Her professional affiliations include: the New York State Bar
Association.

       Prior to her association with Zwerling Schachter, Ms. Shah was associated with the Center
for Constitutional Rights. She was awarded Outstanding Antitrust Litigation Achievement by a
Young Lawyer by the American Antitrust Institute.


                                     Associates of the Firm

Justin M. Tarshis

       Justin M. Tarshis was admitted to the bar of the State of New York in 2003; he is also
admitted to the United States District Court for the Southern and Eastern Districts of New York
and the United States Court of Appeals for the Second Circuit. He received a Bachelor of Science
degree from the University of Wisconsin in 1999, and a Juris Doctor degree cum laude from
Brooklyn Law School in 2002. While in law school, Mr. Tarshis was the recipient of the Samuel

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L. Sporn Academic Achievement Scholarship and the CALI Excellence for the Future Award in
Civil Practice. In addition, Mr. Tarshis served as an intern to the Honorable Shira A. Scheindlin
of the Southern District of New York, as well as an intern in the New York State Attorney
General’s Office.


Ana Cabassa

        Ana Maria Cabassa was admitted to the bar of the State of New York in 2001 and to the
bar of the District of Columbia in 2001; she is admitted to the following federal courts: the United
States District Court for the District of Columbia, and the Tax Court. She received a Bachelor of
Science degree in Accounting and Finance, magna cum laude, from Georgetown University in
1995 and a Juris Doctor degree from New York University, School of Law in 2000. She received
the Thomas Stoddard Award for editing contributions to the Journal of Legislation and Public
Policy. Her professional affiliations include: American Bar Association and New York State Bar
Association.

       Ms. Cabassa is also a Certified Public Accountant.

         Prior to her association with the Zwerling Firm, Ms. Cabassa was associated with Latham
& Watkins, LLP, where she represented clients in antitrust, securities and complex commercial
litigation matters.

        Ms. Cabassa has extensive experience in all phases of complex litigation, including the
investigation and analysis of potential matters and the development of electronic discovery
requirements.


Donatella P. Keohane

       Donatella P. Keohane was admitted to the bar of the State of New York in 2003; she is
also admitted to the Brazilian bar (State of Rio de Janeiro chapter). She received a Bachelor of
Laws degree from Universidade Federal do Rio de Janeiro in 1998, and a Master of Laws degree
from Fordham University School of Law in 2002. Prior to her association with the Zwerling
firm, Ms. Keohane had been associated with Clifford Chance US LLP.

       Ms. Keohane is located in the Zwerling firm’s New York office.


Jessica C. Hermes

       Jessica C. Hermes was admitted to the bar of the State of New York in 2016. She received
a Bachelor of Arts degree from Villanova University in 2012 and a Juris Doctor degree from New
York University School of Law in 2015, where she was Notes Editor and Staff Editor for the
Journal of Legislation & Public Policy.

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         Cera LLP, formerly known as Gold Bennett Cera & Sidener LLP, is based in San
Francisco, California, and has an office in Boston, Massachusetts. The Firm is devoted to the
aggressive pursuit of its clients’ legal objectives. The Firm’s practice consists primarily of
complex business litigation with an emphasis on securities litigation and antitrust litigation. The
Firm has had experience representing its clients in federal and state courts located across the nation.
The particular areas of the Firm’s expertise include the following practice areas:

                  •        Antitrust Litigation
                  •        Securities Litigation
                  •        Breach of Fiduciary Duties by Corporate
                           Officers and Directors and General Partners
                  •        Accountants’ Liability
                  •        Consumer Actions
                  •        Whistleblower Litigation
                  •        Corporate Litigation

         The Firm’s clientele is diverse. In the course of its practice, the Firm has served as
counsel to a variety of individuals and business organizations including entrepreneurs, individual
and corporate investors, and small to large businesses. The Firm represents its clients on either a
contingent fee or a negotiated fee basis depending on the specific circumstances and needs of the
client.

          During the course of the Firm’s work, its members have gained considerable knowledge
of a number of varied industries. They include but are not limited to the following: commodity
chemicals; airlines; banking; retailing; insurance; commercial real estate; toys; communications;
electronics; video games; medical imaging; savings and loan; finance leasing; capital equipment
leasing; microcomputers; mainframe computers; independent power production; industrial
chemicals; oil and gas; retail and institutional brokerage; municipal bonds; tax-advantaged
investments; hedged fund investing and derivatives; food and beverage; food additives; animal
feed; health care and e-commerce.

         In addition, members of the Firm have acquired expertise in a number of different
business disciplines including: corporate reorganizations; mergers and acquisitions; investment
banking; economic modeling; accounting; auditing and damage analyses.


CERA LLP, Attorneys At Law                                               SAN FRANCISCO • BOSTON
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          For over forty (40) years, the Firm has played a leading role in some of the most
significant cases in the country. These cases resulted in substantial recoveries, well in excess of
$1 billion, for the Firm’s clients and have established some of the basic principles for handling
complex litigation.


                                        Antitrust Litigation

          The Firm has significant antitrust litigation experience. The Court in the Rubber
Chemicals Antitrust Litigation found that it was undisputed that the Firm has “extensive experience
and expertise in antitrust and other class actions, as well as other complex litigation, and have
successfully prosecuted such cases in courts across the country.” In re Rubber Chemicals Antitrust
Litigation, 232 F.R.D. 346 (N.D. Cal. 2005). The Firm has played or is playing a lead role in the
following antitrust actions:

        Titanium Dioxide Antitrust Litig.                Cast Iron Soil Pipe Antitrust Litig.
          ($163.5 million) (Baltimore)                     ($30 million) (Chattanooga)

       Merced v. Barclays Antitrust Litig.                   Methionine Antitrust Litig.
              ($29 million) (New York)                     ($107 million) (San Francisco)
             EPDM Antitrust Litig.                        Rubber Chemicals Antitrust Litig.
          ($99.3 million) (Connecticut)                    ($320 million) (San Francisco)

              CR Antitrust Litig.                          Polyester Staple Antitrust Litig.
          ($62 million) (Connecticut)                        ($63.5 million) (Charlotte)

       Organic Peroxide Antitrust Litig.              High Pressure Laminates Antitrust Litig.
       ($37 million) (Washington, D.C.)                     ($40.5 million) (New York)

        Plastic Additives Antitrust Litig.                        NBR Antitrust Litig.
         ($46.8 million) (Philadelphia)                        ($35 million) (Pittsburgh)

             MCAA Antitrust Litig.                          Carbon Black Antitrust Litig.
       ($15.6 million) (Washington D.C.)                      ($20 million) (Boston)

          The Firm is currently acting as a lead counsel for plaintiffs in a number of other pending
securities and antitrust actions, and has or is also currently representing plaintiffs in other class
actions: Juul Antitrust Litigation (San Francisco), Caustic Soda Antitrust Litigation (Buffalo, New
York) Bearings Antitrust Litigation (Detroit), Ceramic Substrates Antitrust Litigation (Detroit),
Shock Absorbers Antitrust Litigation (Detroit), Zinc Antitrust Litigation (New York), Capacitors
Antitrust Litigation (San Francisco), Packaged Seafood Products Antitrust Litigation (San Diego),
Chickens Antitrust Litigation (Chicago), Bulk Bleach Antitrust Litigation (Charleston, SC),
VeriFone Securities Litigation (San Jose), Yuhe International Securities Litigation (Los Angeles),
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Wonder Auto Technology Securities Litigation (New York), Sino Clean Energy Securities
Litigation (Los Angeles), China Intelligent Securities Litigation (Los Angeles), Wire Harness
Antitrust Litigation (Detroit), Foreign Exchange Benchmark Rates Antitrust Litigation (New
York), Brent Crude Futures Antitrust Litigation (New York), Aluminum Warehousing Antitrust
Litigation (New York), Gold Futures Antitrust Litigation (New York), Municipal Derivatives
Antitrust Litigation (New York), Blood Plasma Antitrust Litigation (Chicago), Compressors
Antitrust Litigation (Detroit), Railroad Freight Surcharge Antitrust Litigation (Washington, DC),
Airfreight Shipping Surcharge Antitrust Litigation (New York), Sorbate Antitrust Litigation (San
Francisco), Folding Carton Antitrust Litigation (Chicago), Corrugated Carton Antitrust Litigation
(Houston), Sugar Antitrust Litigation (San Francisco), Beer Antitrust Litigation (Honolulu), and
the Infant Baby Formula Antitrust Litigation (Los Angeles).


                                       Securities Litigation

         The Firm also has significant experience in successfully litigating securities litigation
cases. Some of these cases in which the Firm has played a lead role include:

            Tronox Securities Litig.                       Pacific Lumber Sec. Litig.
               ($37 million) (New York)                        ($140 million) (New York)
            Peregrine Systems, Inc. Sec. Litig.            Legato Systems Sec. Litig.
               ($117 million) (San Diego)                     ($85 million) (San Jose)
            Hedged Investment Assoc. Sec. Litig.           Nucorp Energy Sec. Litig.
               ($50 million) (Denver)                         ($54 million) (San Diego)
            Itel Corporation Sec. Litig.                   First Capital Holdings Sec. Litig.
                ($40 million) (San Francisco)                  ($47.5 million) (Los Angeles)
            Hallwood Realty Partners, L.P. Sec. Litig. Sonus Securities Litig.
               ($35.5 million) (San Francisco)            ($40 million) (Boston)
            CBT Group PLC Sec. Litig.                      American Energy Resources Sec. Litig.
              ($32 million) (San Jose)                        ($33 million) (San Francisco)
            Rent-Way Sec. Litig.                           Wickes Cos. Securities Litig.
               ($30 million) (Erie, PA)                       ($32 million) (San Diego)
            Consolidated Capital Sec. Litig.               Sun Microsystems Sec. Litig.
               ($29.5 million) (San Francisco)                 ($30 million) (San Jose)
            Diasonics Sec. Litig.                          HPL Technologies, Inc. Sec. Litig.
               ($25 million) (San Jose)                       ($25.5 million) (San Francisco)
            BearingPoint Securities Litig.                 Textainer Equipment Partnership Litig.
               ($7.5 million) (Alexandria, VA)                 ($10 million) (San Francisco)
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                                Other Complex Business Litigation

          The Firm recently obtained a Ninth Circuit reversal of a decision in an ERISA action on
behalf of an individual who alleged he was denied a retirement benefit now worth approximately
Fifty Million Dollars. Sender v. Franklin Resources, Inc., 660 F.App’x 379 (9th Cir. 2015). The
Ninth Circuit oral argument may be viewed at
http://www.ca9.uscourts.gov/media/view_video.php?pk_vid=0000007711

          Sizeable recoveries have been made in complex business cases as well. For example, the
Firm recovered approximately three million dollars ($3,000,000) on behalf of two individuals in a
business fraud case. In a major case involving breaches of trust and fiduciary duty, the Firm’s
effort caused a capital restructuring of a sizeable financial institution, thereby creating a substantial
benefit to the Firm’s clients and the financial institution (by the elimination of “management”
stock), as well as a cash recovery of over one million dollars ($1,000,000).

        The Firm also represented management shareholders of a then private biotechnology
company where it was successful in recovering $2 million in stock, reconstituting the board, and
imposing voting restrictions on certain significant shares which were held by investors hostile to
management. The litigation was an important milestone in the Company’s history and permitted
the Company to complete a $76 million Initial Public Offering.

           The Firm has also handled the defense of major litigation. In one situation, the Firm
orchestrated the successful defense of a multi-million dollar claim asserted against numerous
sophisticated individuals and a related Chapter 11 bankruptcy proceeding. In another defense
matter, we represented a publicly traded company and were successful in settling the case whereby
plaintiffs agreed to pay our client (the defendant) over $2 million. In a bankruptcy case, the Firm
represented a major equityholder in connection with a Plan of Reorganization.

          Proud of its prior achievements, the Firm continues to excel in its representation of
diverse clients in a wide variety of complex business litigation scenarios. The Firm is willing to
take on representation, where appropriate, on a contingent fee arrangement. As demonstrated by
the results previously achieved, the Firm possesses the experience, qualifications and resources
necessary to provide superior representation to all of its clients. Attached are profiles of the
principal attorneys of the Firm.
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                         PRINCIPAL ATTORNEYS OF THE FIRM

                                      SOLOMON B. CERA

        Mr. Cera joined the Firm as an associate in 1983, became a partner in 1994, and managing
partner in 2009. Over the course of his more than thirty-five (35) year career at the Firm, Mr. Cera
has played a role in virtually all of the Firm’s major cases and has led the litigation of a wide
variety of securities, antitrust, and consumer fraud class actions in federal and state courts
throughout the country that have resulted in significant recoveries for the Firm’s clients. In
overseeing the Firm’s nationwide practice, Mr. Cera brings to bear his vast experience in litigating
cases in numerous diverse industries and disciplines. These include high tech, software, oil and
gas, executive compensation, commodity chemicals, accounting, tax advantaged investments,
environmental liabilities, ERISA, hedge funds, agriculture, insurance, and workers compensation,
among others.

        Among the more significant cases in which Mr. Cera has played a leading role include
the Titanium Dioxide Antitrust Litigation, No. 10-318 RDB (D. Md.). In 2014, the proceeds from
a recovery of $163.5 million in this antitrust price fixing class action were distributed to hundreds
of small, medium, and large businesses throughout the nation. The case was developed by the Firm
and litigated intensively for three years, leading to the substantial cash recovery.

       In approving the settlements, United States District Judge Richard D. Bennett stated:

               And Mr. Cera has aptly noted the high quality with great pride of
               the plaintiffs' trial team. . . . [O]n more than one occasion, you may
               have noticed quite a few law clerks and interns, not just from here
               to my left, but also in the courtroom, who were watching the
               outstanding lawyering that went on here. And I would be remiss if I
               didn't really comment upon the extraordinarily high level of
               professionalism that I found attended to these cases, that you make
               us all proud to be part of this profession in terms of quality of your
               representation. I mean that sincerely as to all of you. With all the
               level of cynicism at times as to our profession, of the frustration and
               sitting in rooms, and particularly younger lawyers here going
               through billions of documents and document review and discovery,
               there’s still a place here for outstanding advocacy. . . . [I]t was a
               pleasure to preside over this case and see the quality of the lawyering
               I saw on both sides of the aisle. So you present the best of our
               profession.

       Mr. Cera’s excellent advocacy has been recognized by numerous courts. For example, in
Roberts v. Heim, No. 84-8069 TEH (N.D. Cal.), Mr. Cera represented a class of approximately
3,000 investors who lost money in an oil and gas limited partnership investment. The Firm
recovered $33 million in cash for the investors and obtained injunctions which barred collection
from the limited partners on $500 million worth of promissory notes. In this same case, Mr. Cera
obtained more than 10 judgments on behalf of his clients against various defendants for in excess
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of $100 million each. In commenting on the Firm’s representation of its clients in the case, the
Chief Judge of the United States District Court for the Northern District of California stated as
follows:

               [T]his action has been extraordinarily complex, resulting in over 300
               orders by this court, several of which have been published, and many
               of which addressed difficult issues of first impression, and were
               eventually published . . . [T]hroughout this action, class counsel has
               demonstrated superior legal abilities, and has submitted to the court
               briefs, memoranda and oral argument of the highest quality . . .
               [C]ounsel’s efforts have conferred substantial benefits on the class.

Roberts v. Heim, Case No. C84-8069 TEH, 1991 WL 427888 at *6 (N.D. Cal. August 28, 1991).

        In the Peregrine Securities Litigation No. C 02-870 (S.D. Cal.), Mr. Cera was instrumental
in obtaining a recovery believed to be the largest cash payment from outside directors of a public
company in class action securities litigation funded through personal assets and not insurance,
payments of $55 million in cash out of a total settlement of $117 million.

        In Higley v. Donahue, et al., No. 93-CV-4288 (Denver District Court), Mr. Cera acted on
behalf of the firm as co-lead counsel in an action in Colorado state court against several large,
nationally known brokerage firms, based on their involvement in a hedged options trading scheme.
A settlement with a value of $50 million was reached for the benefit of a class of approximately
800 investors in the space of 15 months.

        In Joseph v. Wiles, 223 F.3d 1155 (10th Cir. 2000), Mr. Cera obtained reinstatement of a
case against officers and directors, underwriters and accountants in a class action securities fraud
case involving a disk drive manufacturer. The decision is important insofar as it approves the
filing of securities law claims by purchasers in the aftermarket of an initial offering of securities,
and further analyzes the statute of limitations in a way which benefits investors.

         Throughout his career, Mr. Cera has served as a court-appointed lead counsel, co-lead
counsel, and counsel for plaintiffs in a multitude of actions, applying his wealth of experience in
complex civil litigation to deliver outstanding results for the Firm’s clients and the classes of
individuals and businesses who have incurred damages and which the Firm has represented. Mr.
Cera is fiercely dedicated to achieving meaningful results for the Firm’s clients, and is prepared to
litigate cases aggressively from the initial investigation stage through trial. Mr. Cera strives at all
times to present the highest quality written and oral advocacy on behalf of the Firm’s clients.

        Mr. Cera graduated from Pomona College, Claremont, California, and received his J.D.
from the University of San Francisco School of Law where he was the recipient of the American
Jurisprudence Award in corporations law for attaining the highest grade in the course, and was
winner of the best oral advocate award in the law school’s Moot Court competition. He is admitted
to practice before the Supreme Court of the United States as well as a multitude of federal courts
throughout the country, and is a member of the State Bar of California and the American Bar
Association, including its Litigation Section. Mr. Cera has been designated with the highest
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possible “AV” rating by Martindale-Hubbell, and has repeatedly been selected as a Northern
California Super Lawyer.


                                     C. ANDREW DIRKSEN

        Mr. Dirksen, who joined the Firm in April 2000, now manages the Firm’s Boston office,
which opened in 2014. He devotes his practice to litigation representing clients in complex
multidistrict antitrust class action matters. He has assisted in recovering more than one billion
dollars for clients and other class members, and has served as Co-Lead Counsel for the class
plaintiffs on numerous cases, including:

       In re Titanium Dioxide Antitrust Litigation (D.Md.): After more than a year of
       investigation by our firm, our client Haley Paint Company initiated this price-fixing
       litigation in February 2010 in the United States District Court for the District of Maryland
       before Judge Richard D. Bennett. Settlements of $163.5 million were obtained without the
       benefit of any governmental or regulatory investigation or proceeding. The last defendant
       settled on the Friday before trial was set to begin on Monday, September 9, 2013.

       In re Rubber Chemicals Antitrust Litigation (N.D.Cal.): We recovered $320 million
       for our clients and class members (purchasers of several types of rubber chemical products
       directly from defendants) in this price-fixing case that was prompted by a Department of
       Justice grand jury investigation.

       In re EPDM Antitrust Litigation (D.Conn.): After years of hard-fought litigation, $99
       million was recovered for direct purchasers of EPDM, a synthetic rubber.

       In re Plastics Additives Antitrust Litigation (E.D.Pa.): Recoveries of nearly $47 million
       were obtained for direct purchasers of organotin heat stabilizers, MBS and acrylic impact
       modifiers, acrylic processing aids, and epoxidized soybean oil.

       In re Methionine Antitrust Litigation (N.D.Cal.): Settlements with defendants totaling
       $107 million were achieved for the benefit of direct purchasers of methionine, an animal
       feed additive.

        Mr. Dirksen has represented plaintiffs in dozens of other antitrust actions in a variety of
industries. His other matters include: In re Capacitors Antitrust Litigation, In re Packaged Seafood
Products Antitrust Litigation, In re Cast Iron Soil Pipe and Fittings Antitrust Litigation, In re
Foreign Exchange Benchmark Rates Antitrust Litigation, In re Urethane Antitrust Litigation
(Polyether Polyols Cases), and In re Vehicle Carrier Services Antitrust Litigation. Mr. Dirksen
also has defended a company targeted by the California Attorney General’s office in a civil
antitrust investigation, and worked extensively on several of the firm’s securities fraud matters,
including In re CBT Securities Litigation.

        Prior to attending law school, Mr. Dirksen worked in Washington, D.C., at a large firm as
a paralegal on a variety of complex antitrust matters. He assisted in the defense of corporate clients
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involved in individual and class action antitrust litigation, as well as federal Department of Justice
and state attorneys general grand jury investigations.

        Mr. Dirksen is admitted to practice in all California and Massachusetts state courts; in the
United States District Court for the Northern District of California; in the United States District
Court for the District of Massachusetts; and in the Ninth Circuit Court of Appeals. Mr. Dirksen
received his B.A. magna cum laude from Boston College and his J.D. from the University of San
Francisco School of Law. During law school, he served as the Article Editor of USF’s Maritime
Law Journal. In law school, Mr. Dirksen interned in the Special Prosecution Unit of the San
Francisco District Attorney’s Office. After law school, Mr. Dirksen performed work for clients
engaged in products liability, patent, and maritime litigation in both state and federal courts, until
he joined the firm in 2000.

       Mr. Dirksen is a member of the State Bar of California, the State Bar of Massachusetts,
and the American Bar Association. He also serves as Vice President and Associate General
Counsel to The Mockingbird Foundation, an all-volunteer-run 501(c)(3) charitable organization
that has raised and distributed over $1,000,000 to music education programs for children
nationwide since its founding in 1997.


                                      THOMAS C. BRIGHT

        Mr. Bright joined the Firm in 2002. Mr. Bright concentrates his practice on antitrust class
action litigation involving price fixing and securities class action litigation involving fraud. He is
also one of the Partners who oversees the firm’s new matter department.

       Mr. Bright handles a range of complex securities fraud cases where the firm is appointed
Lead or Co-Lead Counsel, including:

       In re VeriFone Systems Securities Litigation (N.D. Cal.): The firm is representing an
       institutional investor in litigation alleging the Defendants made false and misleading
       statements regarding the company’s growth and revenues.
       In re China Intelligent Lighting and Electronics, Inc. (C.D. Cal.): The firm is
       representing an institutional investor in litigation alleging the Offering Documents of the
       Company contained false and misleading statements.
       In re Tronox, Inc., Securities Litigation (S.D. N.Y.): Recovered $37 million on behalf
       of investors in a suit against a Company which had been spun-off from a parent corporation.
       The suit alleged that the Company, its parent corporation, parent’s officers and general
       counsel, and parent’s successor corporation were liable for false and misleading statements
       made about the spun-off company’s environmental remediation liabilities and its reserves
       during and following the company’s initial public offering.
       Gary Redwen v. Sino Clean Energy, Inc. (C.D. Cal.): Recovered $2 million for
       investors in a lawsuit alleging Defendants overstated their revenues, owned “ghost
       factories,” used strictly for show, which had no operations, and identified the existence of
       customers which were not doing any business with the Company.
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       In re Wonder Auto Technologies, Inc. Securities Litigation. (S.D.N.Y.): Recovered $3
       million on behalf of investors in a case alleging Defendants made certain materially false
       and misleading statements and omissions about WATG’s financial results, internal
       controls, and inventory accounting and, as a result, the prices of WATG securities were
       inflated.
        Mr. Bright also played a key role in the following securities cases: In re Aspeon, Inc.
Securities Litigation, No. 00-cv-995 (C.D. Cal.); Jerome Feitelberg v. Credit Suisse First Boston
LLC, et al., No. 03-cv-817914 (Superior Court of Santa Clara); In re HR Block Securities
Litigation, No. 06-cv-00236 (W.D. Missouri); In re Peregrine Systems, Inc. Securities Litigation,
No. 02-cv-00870 (S.D. Cal.); and In re Rent-Way Securities Litigation, No. 00-cv-323 (W.D. Pa.).

       Mr. Bright represents class representatives in antitrust cases, including:

       In re Air Cargo Shipping Services Antitrust Litigation (E.D.N.Y.): The firm
       represents a freight forwarder serving as a class representative in a multi-district antitrust
       litigation stemming from an investigation by governmental authorities of worldwide
       price-fixing activity in the air cargo industry. At this time, recoveries in this case exceed
       $900 million.
       In re Processed Egg Products Antitrust Litigation, No. 08-md-02002 (E.D. Pa.): The
       firm represents two direct purchaser class representatives in antitrust litigation alleging
       that producers fixed the price of whole eggs and egg products in the United States by
       controlling the aggregate supply of domestic eggs. To date, the recoveries in this case
       exceed $60 million.
       In re Bearings (E.D. Mich.): The firm represents two direct purchasers of ball bearings
       serving as class representatives in a multi-district antitrust litigation alleging worldwide
       price-fixing activity in the automotive and industrial ball bearing industry.
       In re Polyester Staple Antitrust Litigation, No. 03-cv-1516 (W.D. North Carolina):
       Recovered $63.5 million on behalf of a class, which represented a little more than 100%
       of the damages. The firm was appointed Co-Lead Counsel in this multi-district antitrust
       litigation alleging a national price-fixing conspiracy in the textile industry. Mr. Bright
       played a lead role in preparing the case for trial and it settled successfully just before the
       trail began.
       In re Refrigerant Compressors Antitrust Litigation (E.D. Mich.): Recovered $48.4
       million in a multi-district antitrust litigation alleging a national price-fixing conspiracy in
       the refrigerant compressor industry.
       In re Parcel Tanker Shipping Svc Antitrust Litigation (D. Conn.): The firm was
       appointed Co-Lead Counsel in a multi-district antitrust litigation alleging worldwide
       price-fixing activity in the parcel tanker industry. The case went to the Supreme Court of
       the United States where Mr. Bright was on the brief.
       Before joining the firm in 2002, Mr. Bright worked for an antitrust, intellectual property
and business litigation firm in San Francisco whose clients were small to medium-sized businesses
including publicly listed companies.
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       Prior to his relocation to San Francisco, Mr. Bright engaged in complex business and
insurance litigation for four years in the Southern California office of a national firm based in New
York. In addition to litigating primarily commercial liability coverage disputes, tort, employment
and business matters, Mr. Bright was an entertainment lawyer and assumed various roles in
attorney fee matters, ranging from performing internal audits to serving as counsel in litigated
matters.

       After law school, he worked in the motor sports division of International Management
Group, the country’s largest sports agency.

        Mr. Bright graduated from Vanderbilt University in Nashville, Tennessee with a Bachelor
of Arts degree in History. He received his Juris Doctorate from the Pepperdine University School
of Law in Malibu, California. During his final year of law school, he was an extern under Justice
Mildred Lillie for the California Court of Appeals, Second Appellate District, Division Seven.

        Mr. Bright is a member of the State Bar of California, the State Bar of New York and the
District of Columbia Bar. Mr. Bright is also admitted to practice in the Southern District of
California, Central District of California, Eastern District of California and Northern District of
California.


                                    PAMELA A. MARKERT

        Ms. Markert joined the Firm in 2006. Ms. Markert specializes in complex multidistrict
antitrust class action and securities class action and litigation. She also has experience in business,
consumer and general liability matters representing clients ranging from individuals, partnerships
and closely-held corporations to multinational companies. Cases in which Ms. Markert has played
a key role include:

       Merced v. Barclays Bank PLC (S.D.N.Y.): Recovered $29 million for individuals and
       entities who held contracts for electricity which settled against daily index prices that
       were allegedly manipulated at four western electricity hubs.
       Grand Strand Water & Sewer Authority v. Oltrin Solutions LLC et al. (D.S.C.):
       Recovered $2.2 million for purchasers of sodium hypochlorite in concentrations of at
       least 10% arising from alleged conspiracy to allocate bulk bleach markets in North
       Carolina and South Carolina.
       In re Bearings (E.D. Mich.): The firm represents two direct purchasers of ball bearings
       serving as class representatives in a multi-district antitrust litigation alleging worldwide
       price-fixing activity in the automotive and industrial ball bearing industry.
       Sonus Networks, Inc. Securities Litigation (D.Mass.): Recovered $40 million for
       shareholders in securities fraud action arising from false statements and omissions
       allegedly contained in company’s publicly issued financial statements.
       Gianzero v. Wal-Mart Stores, Inc. et.al. (D.Colo.): Obtained $8 million settlement
       involving Wal-Mart Stores, Inc., Claims Management, Inc., Concentra Health Services,
       Inc., and American Home Assurance Co. Claims arose from alleged dictation of medical
      Case
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       care and treatment of Wal-Mart and Sam’s Club employees who suffered workplace
       injuries and submitted workers’ compensation claims in Colorado. Settlement also includes
       four-year injunction against Wal-Mart and CMI, and programmatic relief of four years
       duration as to Concentra.
       BearingPoint, Inc., Securities Litigation (E.D.Va.): Recovered $7.5 million for
       shareholders in a securities fraud action arising from false statements and omissions
       allegedly contained in company’s publicly issued financial statements and after the
       subsequent bankruptcy and liquidation of the company.
       Feyko v. Yuhe International Inc., et al. (C.D.Cal.): Recovered $2.7 million for
       shareholders in a securities fraud action arising from false statements and omissions
       allegedly contained in company’s publicly issued financial statements. Defendants
       included a company headquartered in the People’s Republic of China and three of its
       officers; the company’s independent auditor and three underwriters of its stock offering.

        Ms. Markert has worked, or continues to work, on a number of antitrust and securities fraud
cases including: In re Juul Antitrust Litigation; In re Zinc Antitrust Litigation, In re Shock
Absorbers Antitrust Litigation; In re Municipal Derivatives Antitrust Litigation; In re Processed
Egg Products Antitrust Litigation; and In re Plasma-Derivative Protein Therapies Antitrust
Litigation.

        Prior to her career in law, Ms. Markert worked at SunGard Financial Systems, Inc.
providing technical direction to clients for a comprehensive investment accounting and portfolio
management system for client portfolios totaling more than $27 billion. While at SunGard, she
spent a year in Washington D.C. providing on-site client support for the capital markets division
of the Resolution Trust Corporation.

       Ms. Markert received a B.S. in Business Administration, Finance cum laude from
California State University, Northridge, and a J.D. from Santa Clara University School of Law.
She was an Articles Editor of the Santa Clara Law Review and her comment was published. Ms.
Markert was honored as an Emery Academic Scholarship recipient at Santa Clara.

        Ms. Markert is admitted to practice in the State of California, United States District Court
for the Northern District of California, United States District Court for the Central District of
California, United States District Court for the District of Colorado, United States District Court
for the Eastern District of Michigan, Fourth Circuit Court of Appeals and the Ninth Circuit Court
of Appeals.

       Ms. Markert is a member of Queen’s Bench Bar Association of the San Francisco Bay
Area since 2000. She served as a Director during the years 2008, 2009, 2018 and 2019, and chaired
the Bylaws Committee from 2008 through 2011.
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                         Selected Published Decisions
                              In Which The Firm
                         Has Played A Significant Role

 1.    In re Auto Parts Antitrust Litig.,
       952 F.3d 377 (6th Cir. 2020)

 2.    Merced Irrigation Dist. v. Barclays Bank PLC,
       165 F. Supp. 3d 122 (S.D.N.Y. 2016)

 3.    Merced Irrigation Dist. v. Barclays Bank PLC,
       220 F. Supp. 3d 412 (S.D.N.Y. 2016)

 4.    In re Activision Securities Litigation,
       (CCH) Fed.Sec.L.Rep. ¶92,397 (N.D.Cal. 1985)

 5.    In re Activision Securities Litigation,
       621 F.Supp. 415 (N.D.Cal. 1985)

 6.    In re Activision Securities Litigation,
       723 F.Supp. 1373 (N.D.Cal. 1989)

 7.    Adobe Systems, Inc. Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶95,873 (N.D.Cal. 1991)

 8.    Adobe Systems, Inc. Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶96,051 (N.D.Cal. 1991)

 9.    In re ASK Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶96,991 (N.D.Cal. 1992)

 10.   Businessland Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶96,059 (N.D.Cal. 1991)

 11.   In re BearingPoint Securities Litigation,
       232 F.R.D. 534 (E.D. Va. 2006)

 12.   In re Carbon Black Antitrust Litigation,
       2005 W.L. 102966 (D. Mass. 2005)

 13.   Colaprico v. Sun Microsystems. Inc.,
       Fed.Sec.L.Rep. (CCH) ¶95,874 (N.D.Cal. 1991)

 14.   Colaprico v. Sun Microsystems, Inc.,
       Fed.Sec.L.Rep. (CCH) ¶96,198 (N.D.Cal. 1991)
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 15.   In re Consolidated Air West Securities Litigation,
       73 F.R.D. 12 (N.D.Cal. 1977)

 16.   In re Consolidated Capital Securities Litigation,
       (CCH) Fed.Sec.Rptr. ¶95,238 (N.D.Cal. 1990)

 17.   In re Daisy Systems Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶96,190 (N.D.Cal. 1991)

 18.   Desmond v. BankAmerica Corp.,
       Fed.Sec.L.Rep. (CCH) ¶90,995 (N.D.Cal. 2000)

 19.   In re Diasonics Securities Litigation,
       599 F.Supp. 447 (N.D.Cal. 1984)

 20.   Digital Microwave Corp. Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶97,044 (N.D. Cal. 1992)

 21.   Duval v. Gleason,
       Fed.Sec.L.Rep. (CCH) ¶96,153 (N.D.Cal. 1991)

 22.   Eminence Capital, LLC v. Aspeon, Inc.,
       316 F.3d 1048 (9th Cir. 2003)

 23.   Eza Charitable Trust v. Rent-Way, Inc.,
       136 F.Supp.2d 435 (W.D. Pa. 2001)

 24.   In re Ethylene Propylene Diene Monomer (EPDM) Antitrust Litig.,
       681 F. Supp. 2d 141 (D. Conn. 2009).

 25.   In re Fortune Systems Securities Litigation,
       604 F.Supp. 150 (N.D.Cal. 1984)

 26.   Gaillard v. Natomas Co.,
       173 Cal.App.3d 410, 219 Cal.Rptr. 74 (1985)

 27.   Gaillard v. Natomas,
       208 Cal.App.3d 1250 (1989)

 28.   In re Gap Stores Securities Litigation,
       79 F.R.D. 283 (N.D.Cal. 1978)

 29.   In re Granite Partners, L.P.,
       194 BR 318 (Bankr. S.D.N.Y. 1996)
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 30.   Green v. Occidental,
       541 F.2d 1335 (9th Cir. 1976)

 31.   Haley Paint Co. v. E.I. DuPont de Nemours and Co.,
       804 F. Supp. 2d 419 (D.Md. 2011)

 32.   In re: Zinc Antitrust Litig.,
       No. 14-CV-3728 (KBF), 2016 WL 3167192 (S.D.N.Y. June 6, 2016)

 33.   Hudson v. Capital Management, Inc.,
       565 F.Supp. 615 (N.D.Cal. 1983)

 34.   Hudson v. Capital Management Int’l., Inc.,
       Fed.Sec.L.Rep. (CCH) ¶99,221 (N.D.Cal. 1982)

 35.   Hudson v. Capital Management Int’l., Inc.,
       Fed.Sec.L.Rep. (CCH) ¶99,222 (N.D.Cal. 1982)

 36.   In re Itel Securities Litigation,
       596 F.Supp. 226 (N.D.Cal. 1984)

 37.   In re Itel Securities Litigation,
       89 F.R.D. 104 (N.D.Cal. 1981)

 38.   Joseph v. Wiles,
       223 F.3d 1155 (10th Cir. 2000)

 39.   Lilley v. Charren,
       936 F.Supp. 708 (N.D.Cal. 1996)

 40.   Marshall v. Holiday Magic,
       550 F.2d 1173 (9th Cir. 1977)

 41.   Masstor Systems Corporation Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶92,719 (N.D.Cal. 1986)

 42.   Matrix Capital Management Fund, LP v. BearingPoint, Inc.
       576 F.3d 172 (4th Cir. 2009)

 43.   McFarland v. Memorex Corp.,
       581 F.Supp. 878 (N.D.Cal. 1984)

 44.   In re Memorex Securities Case,
       61 F.R.D. 88 (N.D.Cal. 1973)
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 45.   In re Nucorp Energy Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶99,158 (S.D.Cal. 1983)

 46.   In re Nucorp Energy Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶93,224 (S.D.Cal. 1987)

 47.   In re Plastic Additives Antitrust Litigation,
       2004 WL 2743591 (E.D. Pa. 2004)

 48.   In re Pizza Time Theatre Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶92,53 7 (N.D.Cal. 1986)

 49.   In re Polyester Staple Antitrust Litig.,
       No. 03-cv-1516, 2007 WL 2111380 (W.D. N.C. July 19, 2007)

 50.   Primavera Familienstiftung v. Askin,
       173 F.R.D. 115 (S.D.N.Y. 1997)

 51.   In re Rent-Way Sec. Litig.,
       209 F.Supp.2d 493 (W.D. Pa. 2002)

 52.   Roberts v. Heim,
       Fed.Sec.L.Rep. (CCH) ¶94,393 (N.D.Cal. 1989)

 53.   Roberts v. Heim,
       Fed.Sec.L.Rep. (CCH) ¶94,394 (N.D.Cal. 1989)

 54.   Roberts v. Heim,
       Fed.Sec.L.Rep. (CCH) ¶95,430 (N.D.Cal. 1990)

 55.   Roberts v. Heim,
       Fed.Sec.L.Rep. (CCH) ¶95,431 (N.D.Cal. 1990)

 56.   Roberts v. Heim,
       Fed.Sec.L.Rep. (CCH) ¶96,094 (N.D. Cal. 1991)

 57.   Roberts v. Heim,
       Fed.Sec.L.Rep. (CCH) ¶96,095 (N.D.Cal. 1991)

 58.   Roberts v. Heim,
       Fed.Sec.L.Rep. (CCH) ¶96,221 (N.D.Cal. 1991)

 59.   Roberts v. Heim,
       Case No. C 84-8069 TEH, 1991 WL 427888 (N.D.Cal. 1991)
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 60.   Roberts v. Peat Marwick Mitchell & Co.,
       857 F.2d 646 (9th Cir. 1988)

 61.   Rogers v. NationsCredit Financial Services Corp.,
       Bankr. L. Rep. (CCH) ¶77,918 (N.D.Cal. 1999)


 62.   In re Rubber Chemicals Antitrust Litigation,
       232 F.R.D. 346 (N.D. Cal. 2005)

 63.   In re Seagate Technology II Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶97,028 (N.D. Cal. 1992)

 64.   In re Technical Equities Federal Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶94,093 (N.D.Cal. 1988)

 65.   In re Titanium Dioxide Antitrust Litig.,
       284 F.R.D. 328 (D.Md. 2012)

 66.   In re Titanium Dioxide Antitrust Litig.,
       959 F. Supp. 2d 799 (D.Md. 2013)

 67.   In re Tronox, Inc. Sec. Litig.
       262 F.R.D. 338 (S.D.N.Y. 2009)

 68.   In re Tronox, Inc. Securities Litigation,
       2010 WL 2835545 (S.D.N.Y. June 28, 2010)

 69.   In re Tronox, Inc. Sec. Litig.
       769 F. Supp. 2d 202 (S.D.N.Y. 2011)

 70.   In re Victor Technologies Securities Litigation,
       102 F.R.D. 53 (N.D.Cal. 1984)

 71.   In re Victor Technologies Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶93,158 (N.D.Cal. 1987)

 72.   In re Worlds of Wonder Securities Litigation,
       35 F.3d 1407 (9th Cir. 1994)

 73.   In re Worlds of Wonder Securities Litigation,
       721 F.Supp. 1140 (N.D.Cal. 1989)

 74.   In re Worlds of Wonder Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶95,004 (N.D.Cal. 1990)
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 75.   In re Worlds of Wonder Securities Litigation,
       694 F.Supp. 1427 (N.D.Cal. 1988)

 76.   In re Worlds of Wonder Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶97,041 (N.D. Cal. 1992)

 77.   In re Worlds of Wonder Securities Litigation,
       Fed.Sec.L.Rep. (CCH) ¶97,018 (N.D. Cal. 1992)

 78.   Zatkin v. Primuth,
       551 F.Supp. 39 (S.D.Cal. 1982)

 79.   Zell v. Intercapital Income Securities, Inc.,
       675 F.2d 1041 (9th Cir. 1982)
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                  LOCKRIDGE GRINDAL NAUEN P.L.L.P.
       Founded in 1978, Lockridge Grindal Nauen P.L.L.P. has extensive experience in antitrust,
securities, environmental, employment, health care, commercial, intellectual property, and
telecommunications law. Our clients include agri-businesses, business enterprises, banks, local
governments, trade and industry associations, real estate developers, telecommunications
providers, health care professionals, and insurers.
       Lockridge Grindal Nauen is one of the preeminent class action law firms in the country,
has vast experience representing banks, financial institutions, shareholders, and other institutional
investors in complex litigation, and has extensive experience litigating cases in Minnesota and
across the country. Lockridge Grindal Nauen P.L.L.P. attorneys are assisted by more than 20
paralegals and government relations specialists, and an extensive support staff. The firm has
offices in Minneapolis, Minnesota, Washington, D.C., and Fargo, North Dakota.
                                ANTITRUST EXPERIENCE
       LGN practices extensively in antitrust litigation. The firm has litigated major cases and
class actions involving price fixing, industry cartels, predatory pricing, price discrimination, and
other antitrust and trade regulation issues in courts nationwide. LGN attorneys have been
recognized by courts, peer review publications, and other professional organizations as leading
antitrust lawyers. LGN’s antitrust team is made up of 18 attorneys (8 partners and 10 associates
and staff attorneys) who have significant experience in antitrust litigation. Six partners heading
LGN’s antitrust team were named as Super Lawyers in 2019 and another three attorneys were
named Rising Stars by Super Lawyers in 2019.


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         For 40 years, the firm has prosecuted antitrust cases on behalf of large and small businesses
injured by price-fixing and other violations of the antitrust laws. In the last ten years alone, LGN
and its co-counsel have recovered more than $2 billion for their clients and class members in
antitrust cases involving national and global price-fixing schemes. LGN has served as Lead
Counsel, Co-Lead Counsel, on the executive committee, or played a substantial role in many
antitrust cases, including:
        In re Generic Pharmaceuticals Pricing Antitrust Litigation, Case No. 2:16-MD-02724
         (E.D. Penn.);
        In re Broiler Chicken Antitrust Litigation, Case No. 1:16-cv-08637-TMD-JTG (N.D.
         Ill.);
        In re Packaged Seafood Products Antitrust Litigation, No. 3:15-md-2670 (S.D. Cal.);
        In re Freight Forwarders Antitrust Litigation (Precision Associates, Inc. v. Panalpina
         World Transport (Holding) Ltd., et al.), Case No. 1:08-cv-42-JG-VVP (E.D.N.Y.);
        In re Wholesale Grocery Products Antitrust Litigation, MDL No. 2090, Case No. 0:09-
         md-2090-ADM (D. Minn.);
        Ploss et al. v. Kraft Foods Group, Inc. et al, Case No. 1:15-cv-2937 (N.D. Ill.)
        In re Surescripts Antitrust Litigation, Case. No. 1:19-cv-06627-JJT (N.D. Ill.);
        In re Pork Antitrust Litigation, Case No. 18-cv-01776-JRT-HB (D. Minn);
        Beef Antitrust Litigation (Kenneth Peterson, et al. v. JBS USA Food Co., et al.), Case
         No. 19-cv-1129-JRT-HB (D. Minn.);
        In re Peanut Farmers Antitrust Litigation, Case No. 2:19-cv-463-RAJ-LRL (E.D. Va.);
        Peter Staley, et al., v. Gilead Sciences, Inc. et al, No.: 3:19-cv-02573 (N.D. Cal.);
        Salmon Antitrust Litigation (Wood Mountain Fish LLC v. Mowi, ASA, et al.), Case No.
         19-cv-22128-RS (S.D. Fla.);
        In re Keurig Green Mountain Single-Serve Coffee Antitrust Litigation , MDL No. 2542
         (S.D.N.Y.);
        In re Potash Antitrust litigation (II), Civil No. 1:08-cv-06910-RC (N.D. Ill.);
        In re Flat Glass Antitrust Litigation (II), Civil No. 2:08-mc-180-DWA (W.D. Pa.); and
        In re Urethane Antitrust Litigation, Civil No. 2:04-md-01616-JWL-DJW (D. Kan.).

The firm has also played key roles in dozens of other antitrust class actions across the nation for
40 years. More information on these and other cases can be found here.




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                                                          Kate M. Baxter-Kauf
                                                          Kate Baxter-Kauf’s practice is concentrated in the firm’s antitrust law, data
                                                          breach, business litigation, and securities litigation practice groups. She
                                                          represents individuals, consumers, financial institutions and small
                                                          businesses in litigation to protect their rights and, most often, the rights of
                                                          the class members they seek to represent. Ms. Baxter-Kauf is a 2011 magna
                                                          cum laude and Order of the Coif graduate of the University of Minnesota
Kate M. Baxter-Kauf                                       Law School. While in law school, she served as an Articles Editor for the
Partner                                                   Minnesota Law Review and interned with the Honorable Magistrate Judge
612-339-6900                                              Janie S. Mayeron of the United States District Court for the District of
kmbaxter-kauf@locklaw.com                                 Minnesota. She also spent her 2L summer in the Summer Law Intern
                                                          Program at the Department of Justice Antitrust Division’s Networks and
                                                          Technology Enforcement Section. Prior to joining the firm, Ms. Baxter-
Practices
                                                          Kauf clerked for the Honorable Alan C. Page, the Honorable Helen M.
Antitrust Law
                                                          Meyer, and the Honorable Christopher J. Dietzen, Associate Justices of the
Data Breach Litigation
                                                          Minnesota Supreme Court.
Business Litigation
Securities Litigation                                     Before law school, Ms. Baxter-Kauf was an award-winning coach of high
                                                          school and college policy debate teams across the country and facilitated
                                                          debate teams at Twin Cities urban middle and high schools. She coached the
Education
                                                          2003 National Forensic League policy debate national champions.
University of Minnesota Law School, 2011
magna cum laude, Order of the Coif
                                                          Representative Cases
                                                          •    In re Wholesale Grocery Products Antitrust Litigation, MDL No. 2090 (D. Minn.)
Bar Admissions
2011, Minnesota                                           •    In re EpiPen ERISA Litig., No. 17-cv-1884 (D. Minn.) (appointed liaison counsel)
                                                          •    Adkins v. Facebook, Inc., No. 18-cv-05982 (N.D. Cal.)
Court Admissions                                          •    In re: Yahoo! Inc. Customer Data Security Breach Litig., MDL No. 2752 (N.D.
Minnesota                                                      Cal.)
U.S. District Court, District of Minnesota                •    First Choice Federal Credit Union et al v. The Wendy’s Company et al, No. 2:16-
US. Court of Appeals, Eighth Circuit                           cv-00506 (W.D. Pa.)
                                                          •    In re: Target Corp. Customer Data Breach Security Litig., MDL No. 2522 (D.
                                                               Minn.)
                                                          •    Ploss et al. v. Kraft Foods Group, Inc. et al, Case No. 1:15-cv-2937 (N.D. Ill.)
                                                          •    Soderstrom et al v. MSP Crossroads Apartments LLC, No. 16-cv-233 (D. Minn.)
                                                          •    In re Facebook, Inc., Customer Privacy User Profile Litig., No. 18-2843 (N.D.
                                                               Cal)
                                                          •    Khoday v. Symantec Corp., No. 11-cv-180-JRT-TNL (D. Minn.)
                                                          •    In re Medtronic, Inc. Shareholder Litigation, A15-0858 (Minn.)

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Professional Recognition                                  •    In re Premera Blue Cross Customer Data Security Breach Litig., No. 15-2633 (D.
• Named a Minnesota Rising Star from 2015-2019                 Or.)
  by Super Lawyers®.                                      •    In re Regions Morgan Keegan Open-End Mutual Fund Litigation, No. 2:07-cv-
• Named a Rising Star by Law360 in the area of                 02784 (W.D. Tenn)
  Cybersecurity & Privacy in 2018.
                                                          •    Turnidge et al v. TruGreen Limited Partnership, No. 27-CV-14-14711 (Henn. Cty.
• Named an ‘Up & Coming Attorney’ by                           Dist. Ct.)
  Minnesota Lawyer for 2016.
                                                          •    UrbanWorks Architecture LLC v. Hunt Associates et al, Nos. 27-CV-14-8415 &
• Named a ‘North Star Lawyer’ by the Minnesota
                                                               27-CV-16-10241 (Henn. Cty. Dist. Ct.)
  State Bar Association for 2015-2020 in
  recognition of pro bono work.
                                                          Presentations
Community Involvement                                     •    Data Breach Class Actions, Practical Perspectives, HB Litigation Conferences
• Minnesota Urban Debate League Advisory                       (May 19, 2020)
  Board (Board Member)                                    •    2019 Federal Bar Association’s Rising Professionals Symposium, Now That
• NARAL Pro-Choice Minnesota Foundation                        We’ve Found Standing, What Are We Gonna Do With It? What’s on the Horizon
  Board of Directors (Chair)                                   for Data Breach Litigation (Featured Speaker), FBA Rising Professionals
• American Constitution Society                                Symposium, Las Vegas (February 1, 2019)
• Randolph Heights PTA (Past President)                   •    2016 Cyber Security Summit, Interactive Table Top Exercise on Preparing for
• Macalester-Groveland Community Council
                                                               and Reacting to Data Breach incidents (Counsel Panelist), Cyber Security
  (Elected At-Large Representative & Chair,                    Summit Minneapolis (October 11, 2016)
  Inclusivity Task Force)                                 •    2011 J.D. Class Commencement Address, University of Minnesota Law School
                                                               (May 14, 2011)

                                                          Publications
                                                          •    Modern Data Breach Litigation, The Hennepin Lawyer (January/February
                                                               2020)
                                                          •    Plaintiffs’ Commentary on Appropriate Attorney-Client Privilege and Work-
                                                               Product Protection, Sedona Conference Working Group 11 (June 25, 2019)
                                                          •    Great Bites in Brief, The Hennepin Lawyer (May/June 2017)
                                                          •    The Value of a Clerkship, Minn. Lawyer JDs Rising (May 2013).
                                                          •    Lean In: A Review for Young Lawyers, Minn. Lawyer JDs Rising (April 2013).
                                                          •    Environmental Justice and the BP Deepwater Horizon Oil Spill, 20 N.Y.U.
                                                               Environmental L.J. 99 (2012) (with Hari M. Osofsky, Bradley Hammer, Ann
                                                               Mailander, Brett Mares, Amy Pikovsky, Andrew Whitney, & Laura Wilson).
                                                          •    Breastfeeding in Custody Proceedings, 15 Rich. J.L. Pub. Int. 627 (2012).

                                                          Professional Associations
                                                          •    Federal Bar Association
                                                          •    Minnesota State Bar Association (Appellate Practice Section and Participant,
                                                               Public Defender Appellate Pro Bono Project)
                                                          •    The Sedona Conference (Member, Working Group 11 – Data Security and
                                                               Privacy Liability)
                                                          •    Minnesota Women Lawyers
                                                          •    National Association of Shareholder and Consumer Attorneys
                                                          •    Minnesota Supreme Court Historical Society




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                                                           Heidi M. Silton
                                                           Heidi Silton is a partner in the firm’s antitrust department and practices
                                                           primarily in complex business litigation. Heidi represents mainly small and
                                                           mid-sized businesses in complex litigation involving other businesses and
                                                           litigates in Minnesota and throughout the United States. She and the firm are
                                                           regularly appointed lead and co-lead plaintiffs’ class counsel by courts in
                                                           nationwide antitrust litigation.
Heidi M. Silton
                                                           For the past several years, Heidi has been named one of Minnesota’s top 50
Partner
                                                           Women Lawyers, and top 100 Lawyers, by a peer review list of leading
612-596-4092
                                                           Minnesota Lawyers. She currently serves as the President of The Committee
hmsilton@locklaw.com
                                                           to Support the Antitrust Laws (COSAL) and as an Advisory Member of the
                                                           American Antitrust Institute (AAI), and co-chairs the American Antitrust
Practices                                                  Institute (AAI) Private Enforcement Awards Judging Committee. She also
Antitrust Law Business                                     serves as an advisor to the American Bar Association’s Global Private
Litigation                                                 Litigation Committee. Heidi is a past chair and emeritus of the Minnesota
                                                           State Bar Association Antitrust Law Section.
Education
William Mitchell College of Law, 1995                      In addition to her litigation practice, Heidi serves as Chair of the firm’s
                                                           business development committee and is the current Hiring Partner. She is a
Bar Admissions                                             member of the firm’s Diversity and Inclusion Committee. Heidi believes in
1995, Minnesota                                            the value of mentorship, and works to mentor other women attorneys both
                                                           inside and outside her firm.
Court Admissions
                                                           An active volunteer in her community, Heidi serves on the board of Arete
Minnesota
                                                           Academy and as a Reader/Writer coach for 8th graders in conjunction with
U.S. District Court, District of Minnesota
                                                           Meet Me in the Middle Nonprofit. Heidi has also co-chaired galas to support
U.S. Court of Appeals, Seventh Circuit
                                                           the Sanneh Foundation, the American Diabetes Association and Second
U.S. Court of Appeals, Eighth Circuit
                                                           Harvest.
                                                           Representative Cases
                                                           • In re Generic Drug Pricing Antitrust Litigation, MDL No. 2724 (E.D. Pa.);
                                                           • In re Freight Forwarders Antitrust Litigation (Precision Associates, Inc., et al. v.
                                                             Panalpina World Transport (Holding) Ltd., et al.), No. 1:08-cv-42 (E.D.N.Y.);
                                                           • In re Digital Music Antitrust Litigation, No. 1:06-md-01780-LAP (S.D.N.Y.);
                                                           • Peter Staley, et al., v. Gilead Sciences, Inc. et al, No.: 3:19-cv-02573 (N.D. Cal.);
                                                           • In re Packaged Seafood Products Antitrust Litigation, No. 3:15-md-2670 (S.D.
                                                             Cal.);



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Professional Recognition                                   • In re Keurig Green Mountain Single-Serve Coffee Antitrust Litigation , MDL No.
• Named a Minnesota Super Lawyer® from 2003-                 2542 (S.D.N.Y.);
  2020                                                     • In Re Potash Antitrust Litigation (II), Case No. 1:08-cv-6910 (N.D. Ill.);
• Named one of Minnesota’s Top 50 Women Super              • In Re Urethane Antitrust Litigation, Case No. 2:04-md-1616 (D. Kan.);
  Lawyers® in 2012, 2015-2020, and a Top 100
  Minnesota Women Super Lawyer® for 2007-2009.
                                                           • In Re MSG Antitrust Litigation, Case No. 00-MDL-1328 (D. Minn.);

• Named a Top 100 Minnesota Super Lawyer® in
                                                           • Johnson v. NPAS Solutions, LLC., Appellate Case No. 18-12344 (Eleventh Circuit
  2017.                                                      Court of Appeals)
• Named one of the Minneapolis/St. Paul Business           • Salmon Antitrust Litigation (Wood Mountain Fish LLC v. Mowi, ASA, et al.), Case
  Journal’s “40 Under 40” in 2005.                           No. 19-cv-22128-RS (S.D. Fla.)
• President of the Committee to Support the Antitrust      Presentations
  Laws (COSAL)                                             • “Antitrust and Diversity in the Plaintiffs’ Bar: A Conversation With Two Leading
• Co-Vice Chair of the American Bar Association              Private Enforcers”, on the American Antitrust Institutes’ (AAI) Ruled by Reason
  Membership, Diversity & Inclusion Committee                Podcast (Nov. 3, 2020);
• Advisory Member of the American Bar
  Association Global Private Litigation Committee,
                                                           • “Getting a Seat at the Table and What to do Once You’ve Obtained Your Seat: Tips
  Antitrust Section                                          for Women Lawyers” at the Practicing Law Institute’s Women Lawyers in Leadership
                                                             2018 conference (January 26, 2018)“Fundamentals – Consumer Protection” at the
• Member of the Twin Cities Diversity In Practice
  (TCDIP) Engagement & Innovation Committee                  65th Antitrust Law Spring Meeting (March 29, 2017)
• Co-Chair of the American Antitrust Institute (AAI)       • “Hot Topics in Obtaining Discovery in Foreign Countries” at the University of
  Antitrust Enforcement Awards Judging Committee             Minnesota Law School as part of an Electronic Discovery Seminar (March 4, 2014)
• Advisory Board Member of the American Antitrust          • “Generational Issues in the Law” at the University of Minnesota Law School as
  Institute (AAI)                                            part of the MSBA and Women in the Legal Profession seminar series (April 4, 2013)
                                                           • “Hot Topics in Antitrust Law” at a Minnesota Women Lawyers CLE (January 18,
Community Involvement                                        2012)
• Arete Academy Board Member                               • “Hypotheticals for Practical Application” at the MSBA CLE on Antitrust Law
• Reader/Writer Board Member and student Mentor              Issues in Intellectual Property Litigation and Licensing (May 25, 2011)
• Former Co-chair of the Sanneh Foundation Annual          • 2002 speaker at an MSBA CLE on Fraud, Misrepresentation and Deceptive Trade
  Gala                                                       Practices; frequent speaker at local civic organizations
• Former Co-chair of the American Diabetes
  Association Gala
                                                           Publications
                                                           • Animal Science: The US Supreme Court’s Interpretation of Foreign Law Asserted
• Former Co-chair of the Twin Cities Second Harvest
  fundraising event, the annual “Butterball”
                                                             by Foreign Governments in Competition Law Cases, 12 Global Competition
                                                             Litigation Review no. 2, at 45 (2019) (with Craig Davis and Kasia Kokoszka)
                                                           • The Discovery Evolution of European Commission Competition Law Documents,
                                                             9 Global Competition Litigation Review no. 3, at 96 (2016) (with Craig Davis)
                                                           • Trending     Methods      of   International      Service     of     Process:@
                                                             elusivedefendant#youcanrunbutyoucan’thide#HagueConvention;
                                                             31 No. 19 Westlaw Journal Computer and Internet 1; February 27, 2014
                                                           • A Conspiracy of Note (and your withdrawal should be too); American Bar
                                                             Association Journal — Law News Now, March 2013
                                                           • Social Media Discovery: The Ongoing Struggle to “Update Status”; Bench & Bar of
                                                             Minnesota, December 2012 (with Courtney Blanchard); republished in The
                                                             Computer & Internet Lawyer, May 2013.
                                                           • Pfleiderer AG v. Bundkeskartellamt: A Step Forward in Efforts to Obtain Discovery
                                                             From European Commission Antitrust Proceedings, 19 No. 6 Westlaw Journal
                                                             Antitrust 1; September 8, 2011 (with Craig S. Davis)
                                                           • Litigation Strategy: Making & Defending the Case, 2002




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 8                                  UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10
                                                            )     Case No. 4:21-cv-00801-HSG
11    KIMBERLY NEGRON, Individually and On                  )
12    Behalf of All Others Similarly Situated,              )     [PROPOSED] ORDER GRANTING
                                                            )     PLAINTIFF’S MOTION TO
13                                   Plaintiff,             )     APPOINT INTERIM COUNSEL
                                                            )     PURSUANT TO FED. R. CIV. P. 23(g)
14                             v.                           )
15                                                          )     Judge:   Hon. Haywood S. Gilliam, Jr.
      GOOGLE LLC,                                           )     Date:    July 1, 2021
16                                                          )     Time:    2:00 p.m.
                                     Defendant.             )     Ctrm:    2 – 4th Floor
17                                                          )
18
19          Pending before the Court is Plaintiff’s unopposed Motion to Appoint Interim Counsel
20   Pursuant to Fed.R.Civ.P 23(g) seeking to appoint Interim Counsel, comprised of an Executive
21   Committee including Fred T. Isquith, Jr. as Chair of the Plaintiffs’ Executive Committee and two
22   additional members, Pamela A. Markert and Kate M. Baxter-Kauf. See Dkt. No. ___. The Court
23   GRANTS Plaintiff’s motion.
24          Under Federal Rule of Civil Procedure 23(g)(3), a court “may designate interim counsel to
25   act on behalf of a putative class before determining whether to certify the action as a class action.”
26   Fed. R. Civ. P. 23. A court should “designate interim counsel during the pre-certification period if
27   necessary to protect the interests of the putative class.” See Wang v. OCZ Tech. Grp., Inc., No. C 11-
28   01415 PSG, at *4 (N.D. Cal. June 29, 2011) (citing Fed. R. Civ. P. 23). Although Rule 23(g)(3) does

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 1   not provide a standard for appointment of interim counsel, courts typically look to the factors used in

 2   determining the adequacy of class counsel under Rule 23(g)(1)(A). See, e.g., In re Seagate Tech. LLC

 3   Litig., No. 16-CV-00523-RMW, 2016 WL 3401989, at *2 (N.D. Cal. June 21, 2016). These factors

 4   are: (1) the work counsel has done in identifying or investigating potential claims in the action; (2)

 5   counsel’s experience in handling class actions, other complex litigation, and the types of claims

 6   asserted in the action; (3) counsel’s knowledge of the applicable law; and (4) the resources that

 7   counsel will commit to representing the class. Fed. R. Civ. P. 23(g)(1)(A). The Court may also

 8   consider “any other matter pertinent to counsel’s ability to fairly and adequately represent the interests

 9   of the class.” See Fed. R. Civ. P. 23(g)(1)(B).

10           Mr. Fred T. Isquith Jr, and the Executive Committee of Pamela A. Markert and Kate M.

11   Baxter-Kauf, have demonstrated careful attention to creating a diverse team. In short, the Court finds

12   that they would best represent the interests of the putative class in this case, and hereby appoints them

13   to serve as Interim Co-Lead Counsel. Interim Co-Lead Counsel will be generally responsible for the

14   overall conduct of the litigation on behalf of the putative class and will have the following specific

15   responsibilities:

16               1. Determine and present to the Court and opposing parties the position of Plaintiffs and

17                    putative class members on all matters arising during pretrial proceedings;

18               2. Enter into stipulations with opposing counsel as necessary for the conduct of the

19                    litigation;

20               3. Coordinate the initiation and conduct of discovery on behalf of Plaintiffs and putative

21                    class members, including the preparation of joint interrogatories and requests for the

22                    production of documents and the examination of witnesses in depositions;

23               4.      Hire expert witnesses and consultants on behalf of the putative class, as needed to

24                    prepare for class certification or trial, and advance other costs that may be reasonable

25                    and necessary to the conduct of the litigation;

26               5. Conduct settlement negotiations on behalf of Plaintiffs and putative class members,

27                    where appropriate, and to present any proposed settlements to the Court on behalf of

28                    putative class members;

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 1               6. Prepare and distribute status reports to any other law firms that may appear in the case

 2                  to represent putative class members;

 3               7. Monitor the activities of any other law firms that may appear in the case to represent

 4                  putative class members, and, where appropriate, allocate work assignments to such

 5                  firms;

 6               8. Collect and maintain all Plaintiffs’ counsels’ contemporaneously recorded time

 7                  records, and to ensure that unnecessary expenditures of time and funds are avoided;

 8                  and

 9               9. Perform such other duties as may be incidental to the proper prosecution and

10                  coordination of pretrial activities on behalf of Plaintiffs and the putative class or

11                  authorized by further order of this Court.

12
13          IT IS SO ORDERED

14
15   Dated: ________, 2021
                                                   HONORABLE HAYWOOD S. GILLIAM, JR.
16                                                 UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER RE PLAINTIFF’S MOTION FOR INTERIM COUNSEL                 CASE NO. 4:21-cv-00801-HSG
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 6    Email: pmarkert@cerallp.com

 7    Counsel for Plaintiff SPX Total Body Fitness LLC
      and the Proposed Class
 8    [Additional Counsel listed on signature page]

 9                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11
12                                                          )   Case No. 4:21-cv-00801-HSG
      SPX Total Body Fitness LLC, d/b/a The Studio          )
13    Empower, on behalf of itself and all others           )   PLAINTIFF’S SUPPLEMENT
      similarly situated,                                   )   REGARDING MOTION TO
14                                                          )   APPOINT INTERIM COUNSEL
15                                  Plaintiff,              )   PURSUANT TO FED. R. CIV. P. 23(g)
                                                            )
16                             v.                           )   Judge:   Hon. Haywood S. Gilliam, Jr.
                                                            )   Date:    July 1, 2021
17    GOOGLE LLC,                                           )   Time:    2:00 p.m.
18                                                          )   Ctrm:    2 – 4th Floor
                                    Defendant.              )
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 1          Plaintiff SPX Total Body Fitness LLC, d/b/a The Studio Empower (“SPX”), on behalf of itself

 2   and all others similarly situated, hereby submits this supplement to its motion to Appoint Interim

 3   Counsel Pursuant to Fed. R. Civ. P. 23(g) (ECF No. 25) (the “Motion”). 1 The information set forth

 4   in the Supplement is pertinent to the issues before the Court on the Motion. While no other parties

 5   have moved for appointment as interim lead counsel, there have been developments in similar matters

 6   pending in this District and elsewhere that weigh heavily in favor of the appointment of Interim Lead

 7   Counsel. In particular, the appointment is necessary to ensure that Plaintiff and the class will not be

 8   prejudiced by discovery that is already proceeding in similar matters. Plaintiff respectfully requests

 9   its motion be granted so that its counsel will have the authority to begin coordination of discovery

10   from Defendant Google LLC (“Google”) with Lead Counsel appointed in other matters.

11          DEVELOPMENTS SINCE THE MARCH 29, 2021 FILING OF THE MOTION

12          A.      Cases Pending in this District

13          Since Plaintiff filed its pending motion, Google moved the United States Judicial Panel on

14   Multidistrict Litigation (the “Panel”) to transfer and centralize numerous cases pending in district

15   courts across the country. See In re Digital Advertising Antitrust Litigation, No. 3010 (MDL ECF

16   No. 1) (J.P.M.L. Apr. 30, 2021) (“Advertising MDL”). All briefing is completed, and the Panel will

17   hear arguments on Google’s motion on July 29, 2021. (MDL ECF No. 91).

18          There are two cases filed in the Northern District of California pending before the Honorable

19   Beth Labson Freeman that are rapidly moving forward with discovery. Judge Freeman has organized

20   and appointed a leadership structure including a discovery coordinating committee. See In re Digital

21   Advertising Antitrust Litigation, 20-cv-3556, ECF Nos. 133, 134 (N.D. Cal. Apr. 26, 2021) (“Digital

22   Advertisers”); and In re Digital Publisher Antitrust Litigation, 20-cv-8984, ECF Nos. 74, 76 (Apr.

23   26, 2021) (“Digital Publishers”). In Digital Advertisers and Digital Publishers, the plaintiffs have

24   propounded at least one set of requests for production of documents. See Digital Advertisers, (ECF

25   No. 145); Advertising MDL, (MDL ECF No. 78) (May 26, 2021). Judge Freeman issued an opinion

26
27   1
            At the May 11, 2021 Case Management Conference, the Motion was confirmed for hearing
28   on July 1, 2021.

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 1   granting a motion to dismiss in Digital Advertisers with leave to amend (ECF No. 143) (May 13,

 2   2021). In Digital Publishers, a motion to dismiss was filed and a briefing schedule set. (ECF Nos.

 3   83, 88) (Jun. 4, 2021, and Jun. 15, 2021).

 4          B.      The State Attorneys General Lawsuit

 5          Several state attorneys general filed a lawsuit pending in the United States District Court for

 6   the Eastern District of Texas (the “AGs Action”). In the AGs Action, a motion to dismiss was denied,

 7   and discovery is ongoing. 2 The District Court in the Eastern District of Texas recently denied

 8   Google’s motion to transfer that case to the Northern District of California, however, Google’s motion

 9   before the MDL Panel continues to seek centralization of the AGs Action along with matters in the

10   Northern District of California.

11                                                ARGUMENT

12          Rule 23(g)(3) provides that a court “may designate interim counsel to act on behalf of a

13   putative class before determining whether to certify the action as a class action.” Fed. R. Civ. P.

14   23(g)(3). A court should “designate interim counsel during the pre-certification period if necessary

15   to protect the interests of the putative class.” See Wang v. OCZ Tech. Grp., Inc., No. C 11-01415

16   PSG, at *4 (N.D. Cal. June 29, 2011) (citing Fed. R. Civ. P. 23).

17          The cases before Judge Freeman and the AGs Action are proceeding with discovery and

18   dispositive motion practice. Without appointment of Lead Interim Counsel from this Court for this

19   case and its unique class, Plaintiff is concerned that coordination efforts to obtain necessary

20   documents and avoid duplicate discovery efforts and motion practice will be disregarded. Without

21   the authorization to negotiate and participate in the ongoing discovery efforts with appointed counsel

22   in Digital Advertisers and Digital Publishers, Plaintiff and its counsel have reason to conclude that

23   they will be detrimentally hampered in their ability to protect Plaintiff and the class it seeks to

24
25
26   2
            Including the Civil Investigation Demands and formal discovery, the AG Action has
27   obtained more than two million documents, responses to interrogatories, and sworn statements from
     ten Google employees. In re Digital Advertising Antitrust Litig., MDL No. 3010, ECF No. 71 at 4
28   (J.P.M.L. May 26, 2021).

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 1   represent. For this reason, and for the protection of the Class, Plaintiff requests the Court grant

 2   Plaintiff’s Motion to Appoint Interim Counsel Pursuant to Rule 23(g)(3).

 3                                             CONCLUSION

 4          For the foregoing reasons, SPX, individually and on behalf of all others similarly situated,

 5   respectfully requests the Court appoint its counsel, Fred T. Isquith, Jr., as Chair of the Plaintiffs’

 6   Executive Committee, to be comprised of Mr. Isquith and Pamela A. Markert and Kate M. Baxter-

 7   Kauf, as Interim Lead Counsel to act on behalf of SPX and the proposed class.

 8   Dated: June 24, 2021                         Respectfully submitted,

 9
10                                                CERA LLP

11
                                                  By:       /s/ Pamela A. Markert
12                                                          Pamela A. Markert
13                                                          -and-
14
                                                  Fred T. Isquith, Sr. (pro hac vice forthcoming)
15                                                Fred T. Isquith, Jr. (admitted pro hac vice)
                                                  Robert S. Schachter (admitted pro hac vice)
16                                                Sona R. Shah (pro hac vice forthcoming)
17                                                ZWERLING, SCHACHTER
                                                    & ZWERLING, LLP
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24                                                Fred T. Isquith, Jr. (admitted pro hac vice)
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                                                  New York, NY 10075
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                                                  Tel: (607) 277-6513
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     PLAINTIFF’S SUPPLEMENT TO MOTION FOR INTERIM COUNSEL                      CASE NO. 4:21-cv-00801-HSG
